Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 1 of 95 PageID: 7026




                     Exhibit 12 Part 12
        Part 3 of Attachment L to the Allocation
      Recommendation Report (ARR2201-ARR2294)

                    United States’ Motion to Enter Consent Decree,
        United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 2 of 95 PageID: 7027
Allocation Facility Cmass Calculation
Coats & Clark, Inc.                                                                                              735 Broad Street                                   Bloomfield    NJ          07003
  Constituent Of      Overland,    Dmass      PrePVSC     Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)         Fate &    Overland,      C%      PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                      Transport    Fate &                                                                    C%                                    Cmass
                          C%      Transport
      Copper           100.00%     140.82      100.00%      -           12.41%                -           100.00%                  -                 140.82    1.018817E-2       1.43
       Lead           100.00%      255.02      100.00%      -           12.41%                -           100.00%                  -                 255.02    1.018817E-2       2.6
      Mercury         100.00%         -        100.00%      -           12.41%                -           100.00%                  -                    0      1.018817E-2        0
      HPAHs           100.00%       41.19      100.00%      -           12.41%                -           100.00%                  -                  41.19    1.018817E-2       0.42
       LPAHs          100.00%       58.58      100.00%      -           12.41%                -           100.00%                  -                  58.58    1.018817E-2       0.6
       PCBs           100.00%         -        100.00%      -           12.41%                -           100.00%                  -                    0      1.018817E-2        0
        DDx           100.00%         -        100.00%      -           12.41%                -           100.00%                  -                    0      1.018817E-2        0
      Dieldrin        100.00%         -        100.00%      -           12.41%                -           100.00%                  -                    0      1.018817E-2        0
   Dioxins_Furans     100.00%         -        100.00%      -           12.41%                -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                            ARR2201
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 3 of 95 PageID: 7028
Allocation Facility COC Base Scores - Protocol Calculation
Coats & Clark, Inc.                                                                                              735 Broad Street                              Bloomfield   NJ     07003
  Constituent Of      Relative   Total Mass      COC Historic   COC Relative          COC Base
  Concern (COC)         Risk      (Tmass)          CMass        Contribution            Score
                      Number
                       (RRN)
      Copper            0.69     2,100,000.00        1.43         6.832E-7             4.714E-7
       Lead             0.01     3,200,000.00        2.6          8.119E-7             8.119E-9
      Mercury           0.95      42,000.00           0                0                    0
      HPAHs             0.05     240,000.00          0.42         1.749E-6             8.743E-8
       LPAHs            0.01     170,000.00          0.6          3.511E-6             3.511E-8
       PCBs            12.87      26,000.00           0                0                    0
        DDx             1.37      27,000.00           0                0                    0
      Dieldrin          0.13       390.00             0                0                    0
   Dioxins_Furans      83.92        38.00             0                0                    0




                                                                                                                                                                                 ARR2202
                                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 4 of 95 PageID: 7029
Allocation Facility COC Base Scores - Alternative Calulcation
Coats & Clark, Inc.                                                                                                735 Broad Street                                           Bloomfield   NJ     07003
  Constituent Of      Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)         Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                      Number
                       (RRN)
      Copper            0.69     2,100,000.00      276,960.25            2,097,178.28              5.084E-4               1.43              1,066.31             5.084E-4     3.508E-4
       Lead             0.01     3,200,000.00      288,577.67            3,197,059.92              8.837E-4                2.6              2,825.29             8.837E-4     8.837E-6
      Mercury           0.95      42,000.00          4,322.53              41,955.96                    0                   0                    0                  0            0
      HPAHs             0.05     240,000.00        4,346,388.50            195,718.24              9.477E-6               0.42                 1.85              9.477E-6     4.738E-7
       LPAHs            0.01     170,000.00        3,012,835.14            139,304.72              1.944E-5                0.6                 2.71              1.944E-5     1.944E-7
       PCBs            12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                  0            0
        DDx             1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0            0
      Dieldrin          0.13       390.00              1.27                  389.99                     0                   0                    0                  0            0
   Dioxins_Furans      83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                                ARR2203
                                                    For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                     Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 5 of 95 PageID: 7030
Facility Bypass Information
 Coats & Clark, Inc.                                735 Broad Street                                                Bloomfield                             NJ   07003

Item          Bypass Name    Bypass Type   Time %       Flow %                                                                              Bypass Notes
  1           Union Outlet     Bypass      12.41%       100.00%




                                                                                                                                                                        ARR2204
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
               Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 6 of 95 PageID: 7031
ADR CONFIDENTIAL COMMUNICATION                                                                                                OU2 Facility                                                                                    FINAL 12/28/2020




Discharge Calcs                                        Direct Discharge Information                                    COMMENTS/NOTES
                                                       # hours/day discharged                                          No information on sewer discharges or permits
                                                       # days/week discharged                                          Thread Manufacturing/Dyeing process
                                                       # weeks/yr discharged                                           1922 through "late" 1940s….some information say 1949
                                             1,000,000 # gals/yr directly discharged                                   "Limited" Copper use at the facility
                                                                                                                       1988 and 2000 sediment sampling results indicate Copper, Lead and Mercury both up gradient
                                                  4.08 ft; 30yr average annual precipitation per Rutgers information   and down gradient.
                                                       acres                                                           Assuming discharge to the Third River and Passaic at 1MG per year. Assumption/Guesstimate
                                                43,560 ft2 per acre                                                    discharge following wastewater treatment plant.

                                                   1922 Yr Ops started
                                                   1949 Yr Ops ceased
                                                    27 calc #yrs facility operated

Copper (Cu)
                                                     27 #yrs facility discharged
                                                    -   calc mg/L COC discharged                                       Per Dr. Martin Bide's Expert Report, FDR Page 6




                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -   calc kg COC discharged
Lead (Pb)
                                                     27 #yrs facility discharged
                                                    -   calc mg/L COC discharged                                       Per Dr. Martin Bide's Expert Report, FDR Page 6




                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -   calc kg COC discharged
Mercury (Hg)
                                                     27 #yrs facility discharged
                                                    -   calc mg/L COC discharged                                       Per Dr. Martin Bide's Expert Report, FDR Page 6




                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -   calc kg COC discharged
HPAHs
                                                     27   #yrs facility discharged
                                                    -     calc mg/L COC discharged
                                                  3.785   L per gallon (Merck Index)
                                              0.000001    kg per mg (Merck Index)
                                                    -     calc kg COC discharged
LPAHs
                                                     27   #yrs facility discharged
                                                    -     calc mg/L COC discharged
                                                  3.785   L per gallon (Merck Index)
                                              0.000001    kg per mg (Merck Index)
                                                    -     calc kg COC discharged
PCBs
                                                      21 #yrs facility discharged within PCBs Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
DDx
                                                      10 #yrs facility discharged within DDx Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
Dieldrin
                                                       0 #yrs facility discharged within Dieldrin Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
Dioxins/Furans
                                                     27 #yrs facility discharged
                                                        calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -   calc kg COC discharged
Dioxin/Furan Precursor - 2,4-D
                                                       4 #yrs facility discharged within 2,4-D Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,5-T
                                                       5 #yrs facility discharged within 2,4,5-T Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,6-TCP
                                                       0 #yrs facility discharged within 2,4,6-TCP Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged



Summary DMassCOC for Direct Discharge:
                                                    -     kg Copper
                                                    -     kg Lead
                                                    -     kg Mercury
                                                    -     kg HPAHs
                                                    -     kg LPAHs
                                                    -     kg PCBs
                                                    -     kg DDx
                                                    -     kg Dieldrin
                                                    -     kg Dioxins/Furans




Coats & Clarke Bloomfield DMass formatted for report                                                                                1                                                                               ARR2205   Direct_SW_Other3
                                                                                                                                        For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 7 of 95 PageID: 7032




Discharge Calcs                       Direct Discharge Information                        ASSUMPTIONS, REFERENCES                                                                           COMMENTS/NOTES
                                 4.08 FEET/YEAR AVERAGE PRECIPITATION                     Long term average annual precipitation includes floods and hurricane events                       Data from Rutgers University.
                                                                                          occurring over time.

                                   40 ACRES - TOTAL SITE AREA                             FDR p 1
                                   30 ACRES - AFFECTED AREA                               Rough estimate of site area with exposed fill determined from review of 1938 map
                                                                                          (PAP-00075242). Estimating that 25% of the site had buildings                    The Third River is a tributary
                                                                                                                                                                           to the Passaic and formed the
                                                                                                                                                                           southern and eastern
                                                                                                                                                                           boundaries of the site (FDR p
                                                                                                                                                                           8)
                            4,046.86 METERS2/ACRE

                             121,406 METERS2 (AFFECTED AREA)

                              0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                  For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                          inches/year.

                                   12 METERS3/YEAR (ERODED SOIL VOLUME)                   VOLUME/YEAR DISCHARGED

                                1921 Year site operations began                           Coats and Clark (as Clark Thread Company) bought the land 8/10/1921 (FDR p 1)

                                1947 Year site processing and storage operations ceased   Coats and Clark (as Clark Thread Company) sold the land on 9/17/1947 to
                                                                                          Scientific Glass Apparatus Company Inc (FDR p 1)

                                   26 NUMBER YEARS DISCHARGE

                                 316 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)



                                1,875 KG/M3 SOIL DENSITY                                  Surface soil is 1-5' of sand atop 2-3' silty sand (PAP-00077857). Density of silty
                                                                                          sand and gravel ranges from 1378 to 2371 kg/m 3, so the average is used.
                                                                                          (http://structx.com/Soil_Properties_002.html)

                             591,695 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)
                                                                                          Site is partially located on regional Historic Fill (FDR p 7)                                     AOCs were COCs have been
                                                                                                                                                                                            detected in soil but are not
                                                                                                                                                                                            specifcally related to Scientific
                                                                                                                                                                                            Glass Apparatus Co operations
                                                                                                                                                                                            (later owner/operator at this
                                                                                                                                                                                            site) were evaluated (FDR p
                                                                                                                                                                                            10)
Copper (Cu)                                                                               Copper sulfate was used as part of the dyeing processes (FDR p 1-2)
                                  26 YEARS DISCHARGED
                                 238 MG/KG (MAX CONCENTRATION)                            Max concentration at AOC 14 Sample TP-12S (1-2 ft bgs) (PAP-00075799, PAP-
                                                                                          00076155)
                            0.000001 kg per mg (Merck Index)
                                 141 KILOGRAMS DISCHARGED
Lead (Pb)                                                                                 No info regarding storage or use of lead on site (FDR p 6)
                                  26 YEARS DISCHARGED
                                 431 MG/KG (MAX CONCENTRATION)                            Max concentration at AOC 15 Sample TP-14S (0-1 ft bgs) (PAP-00075800, PAP-
                                                                                          000777868)
                            0.000001 kg per mg (Merck Index)
                                 255 KILOGRAMS DISCHARGED
Mercury (Hg)                                                                              No info regarding storage or use of mercury on site (FDR p 5)
                                  26 YEARS DISCHARGED
                                  0.0 MG/KG (MAX CONCENTRATION)                           Mercury concentration set at 0 mg/kg because the mercury detections in soil were
                                                                                          associated with thermometer manufacturing by the subsequent operator,
                                                                                          Scientific Glass Apparatus Company, Inc. (FDR page 5).

                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED




Coat & Clark- Bloomfield FT Mass- Final.xlsx

                                                                                                                                                                                                                                       ARR2206
                                                                                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                       Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 8 of 95 PageID: 7033




PAHs (listed in Benzo(a)pyrene                                                    Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                             PAH contamination is not
Equivalent conversion table)                                                      https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                     attributable to site-specific                                                            Toxic
                                                                                  equivalents-conversion-table-one-sample.                                                       operations (FDR p 5)                                                  Concentration   Equivalency     Benzo(a)pyrene
                                                                                                                                                                                                                            Contaminant                  (mg/kg)         Factor         Equivalents
                                  26 YEARS DISCHARGED                                                                                                                            AOC 16 Sample TP-21S (0-1 ft Benzo(a)pyrene                    55.000              1.0                   55.0000
                                69.6 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)                                                                                                     bgs). (PAP-00075806-7, PAP- Benzo(a)anthracene                 68.000              0.1                    6.8000
                            0.000001 kg per mg (Merck Index)                                                                                                                     0007582)                     Benzo(b)fluoranthene              44.000              0.1                    4.4000
                                  41 KILOGRAMS DISCHARGED                                                                                                                                                     Benzo(k)fluoranthene              43.000             0.01                    0.4300
PAHs (others detected)                                                            Data below the Benzo(a)pyrene Equivalent table                                                                              Chrysene                          79.000            0.001                    0.0790
                                  26 YEARS DISCHARGED                                                                                                                                                         Dibenz(a,h)anthracene              0.000              1.0                    0.0000
                                  99 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                      Indeno(1,2,3-cd)pyrene            29.000              0.1                    2.9000
                            0.000001 kg per mg (Merck Index)                                                                                                                                                  DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                  59 KILOGRAMS DISCHARGED                                                                                                                                                                                         Total Benzo(a)pyrene Equivalents =        69.6
PCBs                                                                              No info regarding storage or use of PCBs on site (FDR p 4)
                                   26 YEARS DISCHARGED
                                                                                                                                                                                                                            All PAH values from AOC 16 Sample TP-21S
                                                                                                                                                                                                                            (0-1 ft bgs). (PAP-00075806-7, PAP-
                                                                                                                                                                                                                            00075822)
                                    0 MG/KG (MAX OF REPORTED CONCENTRATIONS)      PCBs concentration set at 0 mg/kg because the PCB detections in soil were were
                                                                                  not associated with site operations, but were likely the result of PCBs in historical
                                                                                  building material formulations that were filled on site (such as caulk). PCB-
                                                                                  containing caulks were used in buildings between 1950 and 1978, after Coats and
                                                                                  Clark owned and operated at the site (FDR pages 1 and 4).
                                                                                                                                                                                                                            Anthracene                        0
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                Acenaphthene                      0
                                   0 KILOGRAMS DISCHARGED                                                                                                                                                                   Acenaphthylene                    0
DDx                                                                                                                                                                                                                         Fluorene                          0
                                   0 YEARS DISCHARGED within DDx Timeline                                                                                                                                                   Naphthalene                       0
                                     MG/KG (MAX CONCENTRATION)                                                                                                                                                              Phenanthrene                     99
                                   0 L per gallon (Merck Index)                                                                                                                                                             2-Methylnaphthalene               0
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                SUM                              99
                                   0 KILOGRAMS DISCHARGED
Dieldrin
                                    0 YEARS DISCHARGED within Dieldrin Timeline
                                      MG/KG (MAX CONCENTRATION)
                                3.785 L per gallon (Merck Index)
                            0.000001 kg per mg (Merck Index)
                                    0 KILOGRAMS DISCHARGED
Dioxins/Furans                        NONE FOUND IN AVAILABLE DOCUMENTATION
                                    0 YEARS DISCHARGED
                                      MG/KG (MAX CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                    0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                       140.82 kg Copper
                       255.02 kg Lead
                          0.00 kg Mercury
                         41.19 kg PAHs (Benzo(a)pyrene Equivalent)
                         58.58 kg PAHs (Other)
                          0.00 kg PCBs
                          0.00 kg DDx
                          0.00 kg Dieldrin
                          0.00 kg Dioxins/Furans

                              495.61 MASS (KG) DISCHARGED FROM SURFACE SOIL




Coat & Clark- Bloomfield FT Mass- Final.xlsx

                                                                                                                                                                                                                                                                                                        ARR2207
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 9 of 95 PageID: 7034
Allocation Facility Cmass Calculation
Coats & Clark, Inc.                                                                                              900 Passaic Avenue /260 Ogden                      East          NJ          07032
                                                                                                                 Street                                             Newark
  Constituent Of      Overland,    Dmass      PrePVSC     Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)         Fate &    Overland,      C%      PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                      Transport    Fate &                                                                    C%                                    Cmass
                          C%      Transport
      Copper           100.00%     243.51      100.00%      -           0.23%                 -           100.00%               33.1                 276.63    1.018817E-2       2.82
       Lead           100.00%      579.79      100.00%      -           0.23%                 -           100.00%                  -                 579.79    1.018817E-2       5.91
      Mercury         100.00%         -        100.00%      -           0.23%                 -           100.00%                  -                    0      1.018817E-2        0
      HPAHs           100.00%       1.78       100.00%      -           0.23%                 -           100.00%                  -                  1.78     1.018817E-2       0.02
       LPAHs          100.00%        4.9       100.00%      -           0.23%                 -           100.00%                  -                   4.9     1.018817E-2       0.05
       PCBs           100.00%         -        100.00%      -           0.23%                 -           100.00%                  -                    0      1.018817E-2        0
        DDx           100.00%         -        100.00%      -           0.23%                 -           100.00%                  -                    0      1.018817E-2        0
      Dieldrin        100.00%         -        100.00%      -           0.23%                 -           100.00%                  -                    0      1.018817E-2        0
   Dioxins_Furans     100.00%         -        100.00%      -           0.23%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                            ARR2208
                                                                 For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 10 of 95 PageID: 7035
Allocation Facility COC Base Scores - Protocol Calculation
Coats & Clark, Inc.                                                                                               900 Passaic Avenue /260 Ogden                 East     NJ     07032
                                                                                                                  Street                                        Newark
  Constituent Of      Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)         Risk      (Tmass)           CMass        Contribution            Score
                      Number
                       (RRN)
      Copper            0.69     2,100,000.00         2.82         1.342E-6             9.260E-7
       Lead             0.01     3,200,000.00         5.91         1.846E-6             1.846E-8
      Mercury           0.95      42,000.00            0                0                    0
      HPAHs             0.05     240,000.00           0.02         7.556E-8             3.778E-9
       LPAHs            0.01     170,000.00           0.05         2.937E-7             2.937E-9
       PCBs            12.87      26,000.00            0                0                    0
        DDx             1.37      27,000.00            0                0                    0
      Dieldrin          0.13       390.00              0                0                    0
   Dioxins_Furans      83.92        38.00              0                0                    0




                                                                                                                                                                              ARR2209
                                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 11 of 95 PageID: 7036
Allocation Facility COC Base Scores - Alternative Calulcation
Coats & Clark, Inc.                                                                                                900 Passaic Avenue /260 Ogden                              East       NJ     07032
                                                                                                                   Street                                                     Newark
  Constituent Of      Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)         Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                      Number
                       (RRN)
      Copper            0.69     2,100,000.00       276,960.25           2,097,178.28              9.988E-4               2.82              2,094.67             9.988E-4     6.892E-4
       Lead             0.01     3,200,000.00       288,577.67           3,197,059.92              2.009E-3               5.91              6,423.31             2.009E-3     2.009E-5
      Mercury           0.95      42,000.00          4,322.53              41,955.96                    0                   0                    0                  0            0
      HPAHs             0.05     240,000.00        4,346,388.50            195,718.24              4.095E-7               0.02                 0.08              4.095E-7     2.048E-8
       LPAHs            0.01     170,000.00        3,012,835.14            139,304.72              1.626E-6               0.05                 0.23              1.626E-6     1.626E-8
       PCBs            12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                  0            0
        DDx             1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0            0
      Dieldrin          0.13       390.00              1.27                  389.99                     0                   0                    0                  0            0
   Dioxins_Furans      83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                              ARR2210
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
               Case 2:22-cv-07326-MCA-LDW Document 289-11
ADR CONFIDENTIAL COMMUNICATION                       OU2 Facility
                                                                  Filed 01/31/24 Page 12 of 95 PageID: 7037
                                                                                                         FINAL 12/28/2020




 Discharge Calcs                                       Direct Discharge Information                                       COMMENTS/NOTES
                                                       # hours/day discharged                                             No information on sewer discharges or permits
                                                       # days/week discharged                                             Thread Manufacturing/Dyeing process
                                                       # weeks/yr discharged                                              1922 through "late" 1940s….some information say 1949
                                             1,000,000 # gals/yr directly discharged                                      "Limited" Copper use at the facility

                                                     4.08 ft; 30yr average annual precipitation per Rutgers information
                                                          acres                                                           Assuming discharge to the Passaic at 1MG per year. Assumption/Guesstimate
                                                   43,560 ft2 per acre                                                    Direct discharge w/o wastewater treatment
                                                          acres
                                                      50% Percent Precip to River

                                                     1865 Yr Ops started
                                                     1926 Yr Ops ceased
                                                      61 calc #yrs facility operated

 Copper (Cu)
                                                       35 #yrs facility discharged
                                                    0.250 calc mg/L COC discharged                                        Per Dr. Martin Bide's Expert Report, FDR Page 7-8


                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                  33.12 calc kg COC discharged
 Lead (Pb)
                                                          61 #yrs facility discharged
                                                      -      calc mg/L COC discharged                                     Per Dr. Martin Bide's Expert Report, FDR Page 7-8

                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -   calc kg COC discharged
 Mercury (Hg)
                                                      61     #yrs facility discharged
                                                    -        calc mg/L COC discharged                                     Per Dr. Martin Bide's Expert Report, FDR Page 8
                                                  3.785      L per gallon (Merck Index)
                                              0.000001       kg per mg (Merck Index)
                                                    -        calc kg COC discharged
 HPAHs
                                                          61 #yrs facility discharged
                                                      -      calc mg/L COC discharged

                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -   calc kg COC discharged
 LPAHs
                                                      61     #yrs facility discharged
                                                    -        calc mg/L COC discharged
                                                  3.785      L per gallon (Merck Index)
                                              0.000001       kg per mg (Merck Index)
                                                    -        calc kg COC discharged
 PCBs
                                                      -2 #yrs facility discharged within PCBs Timeline
                                                    -    calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 DDx
                                                     -13 #yrs facility discharged within DDx Timeline
                                                    -    calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 Dieldrin
                                                     -23 #yrs facility discharged within Dieldrin Timeline
                                                    -    calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 Dioxins/Furans
                                                      61     #yrs facility discharged
                                                    -        calc mg/L COC discharged
                                                  3.785      L per gallon (Merck Index)
                                              0.000001       kg per mg (Merck Index)
                                                    -        calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                                     -19 #yrs facility discharged within 2,4-D Timeline
                                                    -    calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                                     -18 #yrs facility discharged within 2,4,5-T Timeline
                                                    -    calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                     -23 #yrs facility discharged within 2,4,6-TCP Timeline
                                                    -    calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                              0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged



 Summary DMassCOC for Direct Discharge:
                                                    33.12    kg Copper
                                                      -      kg Lead
                                                      -      kg Mercury
                                                      -      kg HPAHs
                                                      -      kg LPAHs
                                                      -      kg PCBs
                                                      -      kg DDx
                                                      -      kg Dieldrin
                                                      -      kg Dioxins/Furans




Coats & Clarke Newark DMass formatted for report                                                                                1                                                                     ARR2211   Direct_SW_Passaic
                                                                                                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Discharge Calcs                     Direct Discharge Information                               ASSUMPTIONS, REFERENCES                                                                            COMMENTS/NOTES
                               4.08 FEET/YEAR AVERAGE PRECIPITATION                            Long term average annual precipitation includes floods and hurricane events                        Data from Rutgers University.
                                                                                               occurring over time.

                               17.1 ACRES - TOTAL SITE AREA (acres)                            Acreage in 1920, both Newark mill and East Newark mill (FDR p 1)
                               4.28 ACRES - AFFECTED AREA                                      Looks to be around 75% buildings in 1930-current aerial photos here
                                                                                               https://njdep.maps.arcgis.com/apps/webappviewer/index.html and Google Earth
                                                                                               Pro
                           4,046.86 METERS2/ACRE

                             17,300 METERS2 (AFFECTED AREA)

                             0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                        For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                               inches/year.

                                  2 METERS3/YEAR (ERODED SOIL VOLUME)                          VOLUME/YEAR DISCHARGED TO DITCHES

                               1865 Year Coats and Clark operations began                      FDR p 1
                               1989 Year Coats and Clark sold the Newark mill site (FDR p 1)   Coats & Clark Newark mill operations ceased in 1947, alothough a reseach and                       East Newark mill operations
                                                                                               development operation remained until 1963. (FDR p 1)                                               ened in 1931 and the site was
                                                                                                                                                                                                  sold in 1935 (FDR p 2-3)


                                124 NUMBER YEARS DISCHARGE

                                215 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)



                              1,931 KG/M3 SOIL DENSITY                                         Below foundation slab - silty sand or sell-graded sand with varying amounts of
                                                                                               gravel (PAP-00080266). Density ranges from 1378 to 2483 kg/m3, average is used
                                                                                               (http://structx.com/Soil_Properties_002.html)

                            414,139 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)
                                                                                               This site is partially located on regional historic fill (FDR p 9)
Copper (Cu)                                                                                    Copper sulfate used on site (FDR p 4)
                                124 YEARS DISCHARGED
                                588 MG/KG (MAX CONCENTRATION)                                  Data from sample B-124-2 (1.5-2 ft bgs) collected in 2013 (PAP-00080359)
                           0.000001 kg per mg (Merck Index)
                                244 KILOGRAMS DISCHARGED
Lead (Pb)                                                                                      No info on use of lead on site (FDR p 8)
                                124 YEARS DISCHARGED
                               1400 MG/KG (MAX CONCENTRATION)                                  Data from sample B-30-4.5(3.5-4 ft bgs) collected in 2012 (PAP-00080346)
                           0.000001 kg per mg (Merck Index)
                                580 KILOGRAMS DISCHARGED
Mercury (Hg)                                                                                   No info on use of mercury on site (FDR p 8)
                                124 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)                                  Mercury concentration set at 0 mg/kg because the mercury detections in soil were
                                                                                               not associated with the pre-1935 mill complex operations (FDR pages 8-9) and the
                                                                                               portion of the site that has mercury data (East Newark Mill) was sold in 1935 (FDR
                                                                                               page 1).
                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                                                 Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                                 No specific info on use of   Contaminant                                 Concentration         Toxic      Benzo(a)pyrene
Equivalent conversion table)                                                                   https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                         SVOCs on site but thread                                                   (mg/kg)          Equivalency    Equivalents
                                                                                               equivalents-conversion-table-one-sample.                                                           making operations often used                                                                  Factor
                                                                                                                                                                                                  coal-tar based aniline dyes
                                                                                                                                                                                                  (FDR p 7)

                                124 YEARS DISCHARGED                                                                                                                                              Sample B-131-1.5 (1-1.5 ft                 Benzo(a)pyrene                     2.960               1.0         2.9600
                                4.3 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)                                                                                                                       bgs) collected in 2013 (PAP-               Benzo(a)anthracene                 3.760               0.1         0.3760
                           0.000001 kg per mg (Merck Index)                                                                                                                                       00080363)                                  Benzo(b)fluoranthene               4.350               0.1         0.4350
                                  2 KILOGRAMS DISCHARGED                                                                                                                                                                                     Benzo(k)fluoranthene               1.560               0.01        0.0156
PAHs (others detected)                                                                         Data below the Benzo(a)pyrene Equivalent Table                                                                                                Chrysene                           4.120              0.001        0.0041
                                124 YEARS DISCHARGED                                                                                                                                                                                         Dibenz(a,h)anthracene              0.404               1.0         0.4040
                               11.84 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                                                     Indeno(1,2,3-cd)pyrene             1.100               0.1         0.1100
                           0.000001 kg per mg (Merck Index)                                                                                                                                                                                  DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                   5 KILOGRAMS DISCHARGED                                                                                                                                                                                    Total Benzo(a)pyrene Equivalents =                                  4.3




Coats &Clark - Newark FT Mass- Final.XLSX

                                                                                                                                                                                                                                                                                                                             ARR2212
                                                                                                                           For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                     Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 14 of 95 PageID: 7039




PCBs                                                                             No info on use or presence of PCBs on site (FDR p 6)
                                124 YEARS DISCHARGED                             Only data from the East Newark mill site is available and has been used as sitewide
                                                                                                                                                                                                                          Sample B-131-1.5 (1-1.5 ft bgs) collected in
                                                                                 data. Max of most shallow data (0.5-1 ft bgs) used
                                                                                                                                                                                                                          2013 (PAP-00080363)
                                  0 MG/KG MAX OF REPORTED CONCENTRATIONS)        PCBs concentrations set at 0 mg/kg because the PCB detections in soil were not
                                                                                 associated with the pre-1935 mill complex operations (FDR page 6) and the portion
                                                                                 of the site that has mercury data (East Newark Mill) was sold in 1935 (FDR page 1).


                                                                                                                                                                                                                          Anthracene                    1.52
                           0.000001 kg per mg (Merck Index)                                                                                                                                                               Acenaphthene                  0.37
                                  0 KILOGRAMS DISCHARGED                                                                                                                                                                  Acenaphthylene                0.236
DDx                                                                                                                                                                                                                       Fluorene                      0.653
                                 124 YEARS DISCHARGED within DDx Timeline                                                                                                                                                 Naphthalene                   0.314
                                     MG/KG (MAX CONCENTRATION)                                                                                                                                                            Phenanthrene                  8.51
                               3.785 L per gallon (Merck Index)                                                                                                                                                           2-Methylnaphthalene           0.239
                           0.000001 kg per mg (Merck Index)                                                                                                                                                               SUM                           11.842
                                   0 KILOGRAMS DISCHARGED
Dieldrin
                                 124 YEARS DISCHARGED within Dieldrin Timeline
                                     MG/KG (MAX CONCENTRATION)
                               3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dioxins/Furans                       NONE FOUND IN AVAILABLE DOCUMENTATION
                                 124 YEARS DISCHARGED
                                     MG/KG (MAX CONCENTRATION)
                           0.000001 kg per mg (Merck Index)
                                   0 kg COC discharged

SUMMARY CMASS ESTIMATES:
                       243.51 kg Copper
                       579.79 kg Lead
                         0.00 kg Mercury
                         1.78 kg PAHs (Benzo(a)pyrene Equivalent)
                         4.90 kg PAHs (Other)
                         0.00 kg PCBs
                         0.00 kg DDx
                         0.00 kg Dieldrin
                         0.00 kg Dioxins/Furans

                             829.99 MASS (KG) DISCHARGED FROM SURFACE SOIL




Coats &Clark - Newark FT Mass- Final.XLSX

                                                                                                                                                                                                                                                                         ARR2213
                                                    For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                    Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 15 of 95 PageID: 7040
Facility Bypass Information
 Coats & Clark, Inc.                                900 Passaic Avenue /260 Ogden Street                            East Newark                            NJ   07032

Item          Bypass Name    Bypass Type   Time %        Flow %                                                                             Bypass Notes
  1            Central Ave      CSO         0.37%        61.94%




                                                                                                                                                                        ARR2214
                                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                     Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 16 of 95 PageID: 7041
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Coats & Clark, Inc.
900 Passaic Avenue /260 Ogden                       East                NJ                  07032
Street                                              Newark
 Facility BS   CUF                  CUF_Category                                                             CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                          Adjusted BS
  9.512E-7     0.0%   Historically Compliant or No Evidence Facilty was identified by the PVSC as polluting the Passaic River in 1926, but this pollution was           -20.0% -20% CPG/SPG member - Continuous provision of               7.610E-7
                                                                    subsequently eliminated when the wet operations were moved to Bloomfield (which had a water                    funding and participation in PRP Group(s) actions to
                                                                    treatment plant) in 1926 (PAS-00027177-78; PAP-00128118). No information on violations was                     cooperate with governmental/regulatory entities to
                                                                    identified in the available file material.                                                                     address environmental or public harm created by own
                                                                                                                                                                                   activities

735 Broad Street                                    Bloomfield          NJ                  07003
 Facility BS   CUF                  CUF_Category                                                             CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                          Adjusted BS
  6.021E-7     0.0%   Historically Compliant or No Evidence EPA performed a Potential Hazardous Waste Site Preliminary Assessment in 1982 in response to                -20.0% -20% CPG/SPG member - Continuous provision of               4.816E-7
                                                                    a complaint that mercury was disposed on-site in a shallow pit and surface water. Facilty was                  funding and participation in PRP Group(s) actions to
                                                                    indicated to be abating pollution with their water treatment plant when processes were moved                   cooperate with governmental/regulatory entities to
                                                                    there in 1926 (PAP-00128118; PAP-00129824). Given date of insepection, difficult to assertain                  address environmental or public harm created by own
                                                                    whether actions resulting in contaminantion were during Coats & Clark operations on site.                      activities

                                                                                                                                                                                                                         AP_ABS            1.243E-6




                                                                                                                                                                                                                                  ARR2215
                                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                     Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 17 of 95 PageID: 7042
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Coats & Clark, Inc.
900 Passaic Avenue /260 Ogden                       East                NJ                  07032
Street                                              Newark
 Facility BS   CUF                  CUF_Category                                                             CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                          Adjusted BS
  7.093E-4     0.0%   Historically Compliant or No Evidence Facilty was identified by the PVSC as polluting the Passaic River in 1926, but this pollution was           -20.0% -20% CPG/SPG member - Continuous provision of               5.674E-4
                                                                    subsequently eliminated when the wet operations were moved to Bloomfield (which had a water                    funding and participation in PRP Group(s) actions to
                                                                    treatment plant) in 1926 (PAS-00027177-78; PAP-00128118). No information on violations was                     cooperate with governmental/regulatory entities to
                                                                    identified in the available file material.                                                                     address environmental or public harm created by own
                                                                                                                                                                                   activities

735 Broad Street                                    Bloomfield          NJ                  07003
 Facility BS   CUF                  CUF_Category                                                             CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                          Adjusted BS
  3.603E-4     0.0%   Historically Compliant or No Evidence EPA performed a Potential Hazardous Waste Site Preliminary Assessment in 1982 in response to                -20.0% -20% CPG/SPG member - Continuous provision of               2.883E-4
                                                                    a complaint that mercury was disposed on-site in a shallow pit and surface water. Facilty was                  funding and participation in PRP Group(s) actions to
                                                                    indicated to be abating pollution with their water treatment plant when processes were moved                   cooperate with governmental/regulatory entities to
                                                                    there in 1926 (PAP-00128118; PAP-00129824). Given date of insepection, difficult to assertain                  address environmental or public harm created by own
                                                                    whether actions resulting in contaminantion were during Coats & Clark operations on site.                      activities

                                                                                                                                                                                                                         AP_ABS            8.557E-4




                                                                                                                                                                                                                                  ARR2216
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 18 of 95 PageID: 7043
Allocation Facility Cmass Calculation
Congoleum Corp.                                                                                               195 Belgrove Drive                                 Kearny        NJ          07032
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%     982.92      100.00%      -           0.04%                 -           100.00%                  -                 982.92    1.018817E-2      10.01
      Lead         100.00%     1,369.24     100.00%      -           0.04%                 -           100.00%                  -                1,369.24   1.018817E-2      13.95
     Mercury       100.00%       13.71      100.00%      -           0.04%                 -           100.00%                  -                  13.71    1.018817E-2       0.14
      HPAHs        100.00%       13.87      100.00%   1,013.78       0.04%            1,333.92         100.00%             1,798.6               2,826.87   1.018817E-2       28.8
      LPAHs        100.00%       29.74      100.00%   675.85         0.04%             889.28          100.00%             1,199.1               1,905.07   1.018817E-2      19.41
      PCBs         100.00%      382.96      100.00%      -           0.04%                 -           100.00%                  -                 382.96    1.018817E-2       3.9
       DDx         100.00%       1.56       100.00%      -           0.04%                 -           100.00%                  -                  1.56     1.018817E-2       0.02
     Dieldrin      100.00%         -        100.00%      -           0.04%                 -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           0.04%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2217
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 19 of 95 PageID: 7044
Allocation Facility COC Base Scores - Protocol Calculation
Congoleum Corp.                                                                                                195 Belgrove Drive                            Kearny   NJ     07032
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00        10.01         4.769E-6             3.290E-6
      Lead           0.01     3,200,000.00        13.95         4.359E-6             4.359E-8
     Mercury         0.95      42,000.00           0.14         3.326E-6             3.159E-6
      HPAHs          0.05     240,000.00           28.8         1.200E-4             6.000E-6
      LPAHs          0.01     170,000.00          19.41         1.142E-4             1.142E-6
      PCBs          12.87      26,000.00           3.9          1.501E-4             1.931E-3
       DDx           1.37      27,000.00           0.02         5.886E-7             8.065E-7
     Dieldrin        0.13       390.00              0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                           ARR2218
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 20 of 95 PageID: 7045
Allocation Facility COC Base Scores - Alternative Calulcation
Congoleum Corp.                                                                                                 195 Belgrove Drive                                         Kearny     NJ     07032
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28              3.549E-3              10.01               7,442.8             3.549E-3     2.449E-3
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92              4.745E-3              13.95             15,169.37             4.745E-3     4.745E-5
     Mercury         0.95      42,000.00          4,322.53              41,955.96               3.172E-3               0.14               133.07              3.172E-3     3.013E-3
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24              6.504E-4               28.8               127.29              6.504E-4     3.252E-5
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72              6.323E-4              19.41                88.08              6.323E-4     6.323E-6
      PCBs          12.87      26,000.00         20,066.54              25,795.56               1.908E-2                3.9                492.3              1.908E-2     2.456E-1
       DDx           1.37      27,000.00          2,516.93              26,974.36               6.198E-4               0.02                16.72              6.198E-4     8.491E-4
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                  0            0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                           ARR2219
                                                 For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                 Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 21 of 95 PageID: 7046
Facility Bypass Information
 Congoleum Corp.                                 195 Belgrove Drive                                              Kearny                                 NJ   07032

Item        Bypass Name   Bypass Type   Time %        Flow %                                                                             Bypass Notes
  1          Nairne Ave      CSO         0.22%        19.85%




                                                                                                                                                                     ARR2220
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
              Case 2:22-cv-07326-MCA-LDW Document 289-11
ADR CONFIDENTIAL COMMUNICATION                      OU2 Facility
                                                                 Filed 01/31/24 Page 22 of 95 PageID: 7047
                                                                                                        FINAL 12/28/2020




 Discharge Calcs                                 POTW Discharge Information                            COMMENTS/NOTES
                                                 gal discharged per day                                1972 Waste Effluent Survey used for flow rates
                                                 # hours/per day discharged                            39,158,000 gallons to Sanitary Sewer
                                                 #days/week discharged                                 PAP-00056086,8
                                                 #weeks/yr discharged
                                   39,158,000.00 calc gal/yr discharge

                                            1886 Yr Ops started
                                            1974 Yr Ops ceased
                                             88 calc #yrs facility operated

Copper (Cu)
                                                 88 #yrs facility discharged
                                             -      calc mg/L COC discharged                           PAP-0056085-00056088



                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -   calc kg COC discharged
Lead (Pb)
                                               88   #yrs facility discharged
                                             -      calc mg/L COC discharged                           PAP-0056085-00056088
                                           3.785    L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                             -      calc kg COC discharged
Mercury (Hg)
                                               88   #yrs facility discharged
                                             -      calc mg/L COC discharged                           PAP-0056085-00056088
                                           3.785    L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                             -      calc kg COC discharged
HPAHs
                                               88 #yrs facility discharged
                                             -    calc mg/L O&G                                        PAP-0056085-00056088
                                             10% % O&G that is considered PAHs
                                             60% % PAHs considered as HPAHs
                                            0.18 calc mg/L HPAHs
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                        2,347.69 calc kg COC discharged
LPAHs
                                               88 #yrs facility discharged
                                             -    calc mg/L O&G                                        PAP-0056085-00056088
                                             10% % O&G that is considered PAHs
                                             40% % PAHs considered as LPAHs
                                                0 calc mg/L LPAHs
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                        1,565.13 calc kg COC discharged
PCBs
                                               46 #yrs facility discharged within PCBs Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                        -         calc kg COC discharged
DDx
                                               33 #yrs facility discharged within DDx Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
Dieldrin
                                               25 #yrs facility discharged within Dieldrin Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
Dioxins/Furans
                                               88   #yrs facility discharged
                                             -      calc mg/L COC discharged
                                           3.785    L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                             -      calc kg COC discharged
Dioxin/Furan Precursor - 2,4-D
                                               29 #yrs facility discharged within 2,4-D Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,5-T
                                               30 #yrs facility discharged within 2,4,5-T Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,6-TCP
                                               25 #yrs facility discharged within 2,4,6-TCP Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged



Summary DMassCOC for POTW:
                                            -       kg Copper
                                            -       kg Lead
                                            -       kg Mercury
                                       2,347.69     kg HPAHs
                                       1,565.13     kg LPAHs
                                            -       kg PCBs
                                            -       kg DDx
                                            -       kg Dieldrin
                                            -       kg Dioxins/Furans




Congoleum Corporation DMass formatted for report                                                                        1                                      ARR2221   POTW_PVSC
                                                           For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 23 of 95 PageID: 7048
ADR CONFIDENTIAL COMMUNICATION                                                                                            OU2 Facility                                               FINAL 12/28/2020




Discharge Calcs                                       Direct Discharge Information                                    COMMENTS/NOTES
                                                      # hours/day discharged                                          1972 Waste Effluent Survey used for flow rates
                                                      # days/week discharged                                          30,000,000 gallons to Storm Sewer to Passaic River
                                                      # weeks/yr discharged                                           PAP-00056086,8
                                           30,000,000 # gals/yr directly discharged

                                                 4.08 ft; 30yr average annual precipitation per Rutgers information
                                                      acres
                                               43,560 ft2 per acre

                                                   1886 Yr Ops started
                                                   1974 Yr Ops ceased
                                                    88 calc #yrs facility operated

Copper (Cu)
                                                    88   #yrs facility discharged                                     PAP-0056085-00056088
                                                   -     calc mg/L COC discharged
                                                 3.785   L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                   -     calc kg COC discharged
Lead (Pb)
                                                    88   #yrs facility discharged                                     PAP-0056085-00056088
                                                   -     calc mg/L COC discharged
                                                 3.785   L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                   -     calc kg COC discharged
Mercury (Hg)
                                                    88   #yrs facility discharged                                     PAP-0056085-00056088
                                                   -     calc mg/L COC discharged
                                                 3.785   L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                   -     calc kg COC discharged
HPAHs
                                                    88 #yrs facility discharged
                                                   -   calc mg/L O&G                                                  PAP-0056085-00056088
                                                   10% % O&G that is considered PAHs
                                                   60% % PAHs considered as HPAHs
                                                  0.18 calc mg/L HPAHs
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                              1,798.63 calc kg COC discharged
LPAHs
                                                    88 #yrs facility discharged
                                                   -   calc mg/L O&G                                                  PAP-0056085-00056088
                                                   10% % O&G that is considered PAHs
                                                   40% % PAHs considered as LPAHs
                                                  0.12 calc mg/L LPAHs
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                              1,199.09 calc kg COC discharged
PCBs
                                                     46 #yrs facility discharged within PCBs Timeline
                                                        calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
DDx
                                                     33 #yrs facility discharged within DDx Timeline
                                                        calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
Dieldrin
                                                     25 #yrs facility discharged within Dieldrin Timeline
                                                        calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
Dioxins/Furans
                                                    88 #yrs facility discharged
                                                       calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -   calc kg COC discharged
Dioxin/Furan Precursor - 2,4-D
                                                     29 #yrs facility discharged within 2,4-D Timeline
                                                        calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,5-T
                                                     30 #yrs facility discharged within 2,4,5-T Timeline
                                                        calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,6-TCP
                                                     25 #yrs facility discharged within 2,4,6-TCP Timeline
                                                        calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged



Summary DMassCOC for Direct Discharge:
                                                   -     kg Copper
                                                   -     kg Lead
                                                   -     kg Mercury
                                              1,798.63   kg HPAHs
                                              1,199.09   kg LPAHs
                                                   -     kg PCBs
                                                   -     kg DDx
                                                   -     kg Dieldrin
                                                   -     kg Dioxins/Furans




Congoleum Corporation DMass formatted for report                                                                               2                                           ARR2222   Direct_SW_Passaic
                                                                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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    DISCHARGE CALCULATIONS                DIRECT DISCHARGE INFORMATION                                       ASSUMPTIONS, REFERENCES                                                        COMMENTS/NOTES

                                 4.08 FEET/YEAR AVERAGE PRECIPITATION            Long term average annual precipitation includes floods and hurricane events                       Data from Rutgers University.
                                                                                 occurring over time.

                                                                                 Even with the fill events, the site is still subject to periodic flooding from the
                                                                                 Passaic River (PAP-00054694).



                                  66 ACRES - TOTAL SITE AREA (acres)             FDR, page 1; confirmed on Google Earth                                                            The Kearny Manufacturing
                                                                                                                                                                                   Facilities were approximately 58.5
                                                                                                                                                                                   acres and the Kearny
                                                                                                                                                                                   Administrative Facilities were
                                                                                                                                                                                   approximately 7.5 acres (PAP-
                                                                                                                                                                                   00724224).
                                  19 ACRES - AFFECTED AREA                       Exclude 46.5 acres of buildings and pavement from total 66 acre area for erosion
                                                                                 potential (1995-2020 Google Earth aerial photos)

                          4,046.86 METERS2/ACRE                                  CONVERSION TO METERS

                            76,890 METERS2 (AFFECTED AREA)

                            0.0001 METERS/YEAR (ERODED SOIL THICKNESS)           For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                 inches/year.



                                   8 METERS3/YEAR (ERODED SOIL VOLUME)           VOLUME/YEAR DISCHARGED TO PASSAIC



                                1886 Year site operations began                  Congoleum entities: approximately 1886 – to 1979 (PAP-00220483; PAP-
                                                                                 00402989- 90).
                                1976 Year site was sold to Franklin Burlington   FDR page 5.
                                     Plastics

                                  90 NUMBER YEARS DISCHARGE

                                 692 METERS3 (TOTAL SOIL VOLUME DISCHARGED
                                     OVER TIME)


                                2,251 KG/M3 SOIL DENSITY                         Fill material consisting of silt and clay with miscellaneous debris (PAP-00056120).
                                                                                                                   3               3
                                                                                 Bulk density range 2002 KG/M to 2499 KG/M , so use average.
                                                                                 (http://structx.com/Soil_Properties_002.html)

                         1,557,721 KILOGRAMS (TOTAL SOIL DISCHARGED OVER
                                   TIME)
                                                                                 Some of the site perimeter is located on historic fill material (FDR PDF PAGE 22-3)

Copper (Cu)
                                  90 YEARS DISCHARGED
                                 631 MG/KG (MAX CONCENTRATION)                   PAP-00056226

                          0.000001 kg per mg (Merck Index)
                               983 KILOGRAMS DISCHARGED
Lead (Pb)                                                                        Lead may have been used in pigments as part of the production of linoleum (PAP-
                                                                                 00233588)
                                  90 YEARS DISCHARGED
                                 879 MG/KG MAX CONCENTRATION)                    Max concentration of lead from Table 8 (PAP-00056224)

                          0.000001 kg per mg (Merck Index)
                              1,369 KILOGRAMS DISCHARGED




Congoleum FT Mass- Final.xlsx
                                                                                                                                                                                                                        ARR2223
                                                                                                        For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                  Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 25 of 95 PageID: 7050




      DISCHARGE CALCULATIONS           DIRECT DISCHARGE INFORMATION                                  ASSUMPTIONS, REFERENCES                                                        COMMENTS/NOTES

Mercury (Hg)                                                                Small amounts of mercury were used as an anti-bacteria agent in floor adhesives
                                                                            (PAP-00233591).
                                 90 YEARS DISCHARGED
                                8.8 MG/KG (MAX CONCENTRATION)               Max concentration of mercury from Table 8 (PAP-00056224)

                           0.000001 kg per mg (Merck Index)
                                 14 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                                                                                                                                                                                                                     Toxic
                                                                                                                                                                                                                                            Concentration                     Benzo(a)pyrene
Equivalent conversion table)                                                                                                                                                                                         Contaminant                                Equivalency
                                                                                                                                                                                                                                              (mg/kg)                          Equivalents
                                                                                                                                                                                                                                                                  Factor
                                 90 YEARS DISCHARGED                                                                                                                         Results from sample F-4 collected Benzo(a)pyrene                   7.200               1.0           7.2000
                                8.9 MG/KG (TOTAL PAH MAX CONCENTRATION) Sum of Benzo(a)pyrene Equivalent conversion concentrations                                              at 5.5-6 FT (FDR page 23, PAP-
                                                                                                                                                                                                    00231557) Benzo(a)anthracene                6.800               0.1           0.6800
                          0.000001 kg per mg (Merck Index)                                                                                                                                                     Benzo(b)fluoranthene             6.000               0.1           0.6000
                                14 KILOGRAMS DISCHARGED                                                                                                                                                        Benzo(k)fluoranthene             6.500              0.01           0.0650
PAHs (others detected)                                                 Data below the Benzo(a)pyrene Equivalent Table                                                                                          Chrysene                         8.100              0.001          0.0081
                                90 YEARS DISCHARGED                                                                                                                                                            Dibenz(a,h)anthracene            0.000               1.0           0.0000
                                19 MG/KG (TOTAL PAH MAX CONCENTRATION) LMW PAH concentration at sample HF-4(DUP) from 0.5-1.0 ft bgs (PAP-
                                                                       00056223)                                                                                                                              Indeno(1,2,3-cd)pyrene             3.500              0.1           0.3500
                          0.000001 kg per mg (Merck Index)                                                                                                                                                    DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                30 KILOGRAMS DISCHARGED                                                                                                                                                                                Total Benzo(a)pyrene Equivalents =          8.9
PCBs
                                46 YEARS DISCHARGED                         Reduced discharge period to 1930-1976 (46 years)
                             481.0 MG/KG (MAX OF REPORTED                   PAP-00223757                                                                                                                      Sample MW33-004 (PAS-00088281-2)
                                   CONCENTRATIONS)
                          0.000001 kg per mg (Merck Index)                                                                                                                                                    Anthracene                                  2.9
                               383 KILOGRAMS DISCHARGED                                                                                                                                                       Acenaphthene                                1.3
DDx                                                                                                                                                                                                           Acenapthylene                              0.13
                                90 YEARS DISCHARGED within DDx Timeline                                                                                                                                       Fluorene                                    1.2
                          0.000021 MG/KG (MAX CONCENTRATION)                4,4-DDD from Table 8 (PAP-00056223)
                                                                                                                                                                                                              Naphthalene                                0.32
                          0.000001 kg per mg (Merck Index)                                                                                                                                                    Phenanthrene                                 13
                                 2 KILOGRAMS DISCHARGED                                                                                                                                                       2-methylnaphthalene                        0.24
Dieldrin                                                                                                                                                                                                      SUM                                       19.09
                                90 YEARS DISCHARGED within Dieldrin Timeline NONE REPORTED

                                   MG/KG (MAX CONCENTRATION)
                          0.000001 kg per mg (Merck Index)
                                 0 KILOGRAMS DISCHARGED
Dioxins/Furans
                                90 YEARS DISCHARGED                         NONE REPORTED
                                   MG/KG (MAX CONCENTRATION)
                          0.000001 kg per mg (Merck Index)
                                 0 KILOGRAMS DISCHARGED

SUMMARY CMASS ESTIMATES:
                       982.92 kg Copper
                     1,369.24 kg Lead
                        13.71 kg Mercury
                        13.87 kg PAHs (Benzo(a)pyrene Equivalent)
                        29.74 kg PAHs (Other)
                       382.96 kg PCBs
                         1.56 kg DDx
                         0.00 kg Dieldrin
                         0.00 kg Dioxins/Furans

                           2793.99 TOTAL MASS (KG) DISCHARGED FROM
                                   SURFACE SOIL




Congoleum FT Mass- Final.xlsx
                                                                                                                                                                                                                                                                                           ARR2224
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                          Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 26 of 95 PageID: 7051
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Congoleum Corp.
195 Belgrove Drive                      Kearny         NJ                   07032
 Facility BS   CUF         CUF_Category                                                      CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                          Adjusted BS
  1.946E-3     5.0%   Occasional Noncompliance     Poor housekeeping identified in the 1950s during an inspection (fire hazards noted, oil dumped in    -20.0% -20% CPG/SPG member - Continuous provision of               1.654E-3
                                                   the weeds) (PAP-00056081). In April 1990 three areas of abandoned drums in poor condition                       funding and participation in PRP Group(s) actions to
                                                   were discovered along the Passaic River, and solidified sludge from a vinyl tile manufacturing                  cooperate with governmental/regulatory entities to
                                                   process was observed on the property (PAP-00337307; PAP-00054201-02). Congoleum                                 address environmental or public harm created by own
                                                   employees had heard stories over the years had stated “scrap vinyl may have been buried on                      activities
                                                   some portions of the Kearny Facility” (PAS-00104956; PAS-00104961). On or about August 19,
                                                   1943, during World War II, there was an explosion at the Kearny Facility. (PAP-00233575).
                                                   According to an October 18, 1943, memo to the Kearny Fire Department the explosion occurred
                                                   at Building No. 12 in the Number 6 stove, as a result of an explosion of vapors of Sovosol No. 5
                                                   used as a solvent for the paint used in the treating of camouflage nets (PAP-00232310).

                                                                                                                                                                                                         AP_ABS            1.654E-3




                                                                                                                                                                                                                  ARR2225
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                          Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 27 of 95 PageID: 7052
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Congoleum Corp.
195 Belgrove Drive                      Kearny         NJ                   07032
 Facility BS   CUF         CUF_Category                                                      CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                          Adjusted BS
  2.520E-1     5.0%   Occasional Noncompliance     Poor housekeeping identified in the 1950s during an inspection (fire hazards noted, oil dumped in    -20.0% -20% CPG/SPG member - Continuous provision of               2.142E-1
                                                   the weeds) (PAP-00056081). In April 1990 three areas of abandoned drums in poor condition                       funding and participation in PRP Group(s) actions to
                                                   were discovered along the Passaic River, and solidified sludge from a vinyl tile manufacturing                  cooperate with governmental/regulatory entities to
                                                   process was observed on the property (PAP-00337307; PAP-00054201-02). Congoleum                                 address environmental or public harm created by own
                                                   employees had heard stories over the years had stated “scrap vinyl may have been buried on                      activities
                                                   some portions of the Kearny Facility” (PAS-00104956; PAS-00104961). On or about August 19,
                                                   1943, during World War II, there was an explosion at the Kearny Facility. (PAP-00233575).
                                                   According to an October 18, 1943, memo to the Kearny Fire Department the explosion occurred
                                                   at Building No. 12 in the Number 6 stove, as a result of an explosion of vapors of Sovosol No. 5
                                                   used as a solvent for the paint used in the treating of camouflage nets (PAP-00232310).

                                                                                                                                                                                                         AP_ABS            2.142E-1




                                                                                                                                                                                                                  ARR2226
                   For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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                                   Allocator’s Determinations Regarding
                                 Legal Defenses Raised by Allocation Parties

    CONGOLEUM
    Congoleum argues that the current Congoleum never owned and/or operated the Kearny
    Manufacturing Facilities property that is the subject of this OU2 Allocation proceeding and
    Current Congoleum is not the successor to any entity or business which did own and/or operate
    the Kearny Manufacturing Facilities. Accordingly, pursuant to Step 2(d)(9) of the Allocation
    Protocol, Current Congoleum submits that these facts establish a complete defense to liability for
    alleged discharges from the Kearny Facility.

    ALLLOCATOR’S DETERMINATION – Congoleum states a credible argument regarding the
    timing of its purchase of assets from its predecessor and the sale of the Kearny Manufacturing
    facility. However, uncertainties regarding the evolution of the corporation and its predecessor
    and its use of Kearny facility property raise doubts about its ability to prevail in an action to
    overturn EPA’s determination of Congoleum as a PRP based on the supplied information.
    Though the Allocator presumes a substantial chance of success should this matter go to litigation,
    we leave this matter as a topic for settlement discussions between Congoleum and EPA.




                                                                                                                  ARR2227
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 29 of 95 PageID: 7054
Allocation Facility Cmass Calculation
Conopco, Inc.                                                                                                 540 New York Avenue                                Lyndhurst     NJ          07071
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%      40.44      100.00%      -           2.32%           79,883.53         100.00%                  -                1,893.74   1.018817E-2      19.29
      Lead         100.00%      218.21      100.00%      -           2.32%            1,656.12         100.00%                  -                 256.63    1.018817E-2       2.61
     Mercury       100.00%        4.        100.00%      -           2.32%              9.74           100.00%                  -                  4.23     1.018817E-2       0.04
      HPAHs        100.00%      150.66      100.00%      -           2.32%           10,209.51         100.00%              983.1                1,370.66   1.018817E-2      13.96
      LPAHs        100.00%       849.6      100.00%      -           2.32%            6,806.34         100.00%              655.4                1,662.93   1.018817E-2      16.94
      PCBs         100.00%       0.12       100.00%      -           2.32%                 -           100.00%                  -                  0.12     1.018817E-2        0
       DDx         100.00%       88.48      100.00%      -           2.32%                 -           100.00%                  -                  88.48    1.018817E-2       0.9
     Dieldrin      100.00%       0.02       100.00%      -           2.32%                 -           100.00%                  -                  0.02     1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           2.32%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2228
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 30 of 95 PageID: 7055
Allocation Facility COC Base Scores - Protocol Calculation
Conopco, Inc.                                                                                                  540 New York Avenue                           Lyndhurst   NJ     07071
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00        19.29         9.187E-6             6.339E-6
      Lead           0.01     3,200,000.00         2.61         8.171E-7             8.171E-9
     Mercury         0.95      42,000.00           0.04         1.025E-6             9.739E-7
      HPAHs          0.05     240,000.00          13.96         5.819E-5             2.909E-6
      LPAHs          0.01     170,000.00          16.94         9.966E-5             9.966E-7
      PCBs          12.87      26,000.00            0           4.702E-8             6.052E-7
       DDx           1.37      27,000.00           0.9          3.339E-5             4.574E-5
     Dieldrin        0.13       390.00              0           5.225E-7             6.792E-8
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                              ARR2229
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 31 of 95 PageID: 7056
Allocation Facility COC Base Scores - Alternative Calulcation
Conopco, Inc.                                                                                                   540 New York Avenue                                        Lyndhurst   NJ     07071
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28              6.838E-3              19.29             14,339.62             6.838E-3     4.718E-3
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92              8.893E-4               2.61              2,843.14             8.893E-4     8.893E-6
     Mercury         0.95      42,000.00          4,322.53              41,955.96               9.777E-4               0.04                41.02              9.777E-4     9.288E-4
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24              3.154E-4              13.96                61.72              3.154E-4     1.577E-5
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72              5.519E-4              16.94                76.89              5.519E-4     5.519E-6
      PCBs          12.87      26,000.00         20,066.54              25,795.56               5.980E-6                 0                  0.15              5.980E-6     7.696E-5
       DDx           1.37      27,000.00          2,516.93              26,974.36               3.515E-2                0.9               948.25              3.515E-2     4.816E-2
     Dieldrin        0.13       390.00              1.27                  389.99                1.580E-2                 0                  6.16              1.580E-2     2.054E-3
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                            ARR2230
                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Facility Bypass Information
 Conopco, Inc.                                    540 New York Avenue                                             Lyndhurst                              NJ   07071

Item         Bypass Name   Bypass Type   Time %       Flow %                                                                              Bypass Notes
  1            Yantacaw      Bypass       2.32%       100.00%




                                                                                                                                                                      ARR2231
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
               Case 2:22-cv-07326-MCA-LDW Document 289-11
ADR CONFIDENTIAL COMMUNICATION                       OU2 Facility
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 Dicharge Calcs                                 POTW Discharge Information                            COMMENTS/NOTES
                                                gal discharged per day/week/month                     No data Conopco, using Goodrich and Purdue as a similar operation
                                                # hours/per day discharged
                                                #days/week discharged
                                                #weeks/yr discharged
                                    114,391,833 calc gal/yr discharge (FDR)




                                           365 #day per yr operated (FDR) (
                                           1941 Yr Ops started (FDR)
                                           1986 Yr Ops ceased (FDR)
                                            45 calc #yrs facility operated

 Copper (Cu)
                                             45    #yrs facility discharged
                                           4.10    calc mg/L COC discharged                           Based on Goodrich
                                          3.785    L per gallon (Merck Index)
                                      0.000001     kg per mg (Merck Index)
                                         79,884    calc kg COC discharged
 Lead (Pb)
                                             45    #yrs facility discharged                           Based on Purdue
                                          0.085    calc mg/L COC discharged; (FDR) PAP00128020
                                          3.785    L per gallon (Merck Index)
                                      0.000001     kg per mg (Merck Index)
                                       1,656.12    calc kg COC discharged
 Mercury (Hg)
                                              45   #yrs facility discharged
                                         0.0005    calc mg/L COC discharged; (FDR)                    Based on Goodrich
                                          3.785    L per gallon (Merck Index)
                                      0.000001     kg per mg (Merck Index)
                                            9.74   calc kg COC discharged
 HPAHs
                                             45 #yrs facility discharged
                                             8.7 calc mg/L O&G (FDR)                                  Based on Goodrich
                                            10% % O&G that is considered PAHs
                                            60% % PAHs considered as HPAHs
                                           0.52 calc mg/L HPAHs
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                         10,210 calc kg COC discharged
 LPAHs
                                             45 #yrs facility discharged
                                             8.7 calc mg/L O&G (FDR)                                  Based on Goodrich
                                            10% % O&G that is considered PAHs
                                            40% % PAHs considered as LPAHs
                                           0.35 calc mg/L LPAHs
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                          6,806 calc kg COC discharged
 PCBs
                                              37 #yrs facility discharged within PCBs Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 DDx
                                              32 #yrs facility discharged within DDx Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dieldrin
                                              37 #yrs facility discharged within Dieldrin Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxins/Furans
                                              45 #yrs facility discharged
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                              41 #yrs facility discharged within 2,4-D Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                              41 #yrs facility discharged within 2,4,5-T Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                              26 #yrs facility discharged within 2,4,6-TCP Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged



 Summary DMassCOC for POTW:
                                        79,884     kg Copper
                                         1,656     kg Lead
                                             10    kg Mercury
                                        10,210     kg HPAHs
                                         6,806     kg LPAHs
                                           -       kg PCBs
                                           -       kg DDx
                                           -       kg Dieldrin
                                           -       kg Dioxins/Furans




Conopco formatted for report                                                                                            1                                                 ARR2232   POTW_PVSC
                                                           For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
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 Dicharge Calcs                                   Direct Discharge Information                                     COMMENTS/NOTES
                                                  # hours/day discharged                                           No information using Goodrich and Purdue as similar operations
                                                  # days/week discharged
                                                  # weeks/yr discharged
                                      481,009,150 # gals/yr directly discharged

                                              4.08 ft; 30yr average annual precipitation per Rutgers information
                                                   acres
                                            43,560 ft2 per acre
                                               365 #day operated per yr (PAP-00206119, PAP-00433684)
                                              1941 Yr Ops started
                                              1986 Yr Ops ceased
                                                45 calc #yrs facility operated

 Copper (Cu)
                                                 45 #yrs facility discharged
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Lead (Pb)
                                                 45 #yrs facility discharged
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Mercury (Hg)
                                                 45 #yrs facility discharged
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 HPAHs
                                                45 #yrs facility discharged
                                               0.2 calc mg/L O&G discharged (PAP-00206137)                         special calcs to use PAHs to determine PAH mass discharged via outside catch basins
                                               10% % PAHs assumed in O&G
                                               60% % PAHs assumed in HPAHs
                                              0.01 calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                            983.13 calc kg COC discharged
 LPAHs
                                                45 #yrs facility discharged
                                               0.2 calc mg/L O&G discharged (PAP-00206137)                         special calcs to use PAHs to determine PAH mass discharged via outside catch basins
                                               10% % PAHs assumed in O&G
                                               40% % PAHs assumed in LPAHs
                                              0.01 calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                            655.42 calc kg COC discharged
 PCBs
                                                 37 #yrs facility discharged within PCBs Timeline
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 DDx
                                                 32 #yrs facility discharged within DDx Timeline
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Dieldrin
                                                 37 #yrs facility discharged within Dieldrin Timeline
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Dioxins/Furans
                                                 45 #yrs facility discharged
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                                 41 #yrs facility discharged within 2,4-D Timeline
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                                 41 #yrs facility discharged within 2,4,5-T Timeline
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                 26 #yrs facility discharged within 2,4,6-TCP Timeline
                                                    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                          0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged



 Summary DMassCOC for Direct Discharge:
                                               -     kg Copper
                                               -     kg Lead
                                               -     kg Mercury
                                               983   kg HPAHs
                                               655   kg LPAHs
                                               -     kg PCBs




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                                          For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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                                 -   kg DDx
                                 -   kg Dieldrin
                                 -   kg Dioxins/Furans




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                                                                                                                                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                                    Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 36 of 95 PageID: 7061




Discharge Calcs                        Direct Discharge Information                        ASSUMPTIONS, REFERENCES                                                                 COMMENTS/NOTES
                                  4.08 FEET/YEAR AVERAGE PRECIPITATION                     Long term average annual precipitation includes floods and hurricane events             Data from Rutgers University.
                                                                                           occurring over time.

                                    17 ACRES - TOTAL SITE AREA (acres)
                                     6 ACRES - AFFECTED AREA                               90 percent of site was covered with impervious material and 40 percent was
                                                                                           buildings (FDR Page 24, PAS-00113240). Estimate 20 years (1941-1961) 40 percent
                                                                                           buildings without asphalt, 25 years 90 percent impervious with buildings = 5.6 acres

                              4,046.86 METERS2/ACRE

                                22,662 METERS2 (AFFECTED AREA)

                                0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                 For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                           inches/year.

                                     2 METERS3/YEAR (ERODED SOIL VOLUME)                   VOLUME/YEAR DISCHARGED TO PASSAIC RIVER

                                 1941 Year site operations began                           FDR page 2 PAS-00113112, 2741, 3149; PAP-00048761
                                 1986 Year site processing and storage operations ceased   FDR page 2 PAS-00113112, 2741, 3149; PAP-00048761

                                    45 NUMBER YEARS DISCHARGE                              Conopco liability 45 years, 1941 to 1986 (FDR, page 2)

                                   102 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)



                                 1,963 KG/M3 SOIL DENSITY                                  Fill reported as fine to medium sand with trace gravel (PAS-00113242). Bulk density
                                                                                           range for silty sand and gravel 1442 KG/M3 to 2483 KG/M3, so use average.
                                                                                           (http://structx.com/Soil_Properties_002.html)

                               200,188 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)
                                                                                           Facility is partially located on historic fill (FDR, page 15)
Copper (Cu)
                                    45 YEARS DISCHARGED
                                   202 MG/KG (MAX CONCENTRATION)                           Copper concentration in on-site surface soil sample TSA-5 (PAS-00113344).

                              0.000001 kg per mg (Merck Index)
                                    40 KILOGRAMS DISCHARGED
Lead (Pb)
                                   45 YEARS DISCHARGED
                                 1090 MG/KG (MAX CONCENTRATION)                            Lead concentration in on-site soil sample OPA-29 (PAS-00113345, depth unknown).

                              0.000001 kg per mg (Merck Index)
                                   218 KILOGRAMS DISCHARGED
Mercury (Hg)
                                    45 YEARS DISCHARGED
                                  20.0 MG/KG (MAX CONCENTRATION)                           Mercury concentration in on-site soil sample OPA-37 (PAS-00113284, depth
                                                                                           unknown).
                              0.000001 kg per mg (Merck Index)
                                     4 KILOGRAMS DISCHARGED




Conopco FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                    ARR2235
                                                                                                                                                          For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                    Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 37 of 95 PageID: 7062




PAHs (listed in Benzo(a)pyrene                                                   Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                                                                                                                             Toxic
Equivalent conversion table)                                                     https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                                                 Concentration    Equivalency      Benzo(a)pyrene
                                                                                 equivalents-conversion-table-one-sample.                                                                                               Contaminant                           (mg/kg)          Factor          Equivalents
                                    45 YEARS DISCHARGED                                                                                                                          Used PAH concentrations Benzo(a)pyrene                                        480.000            1.0            480.0000
                                 752.6 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)   Sum of Benzo(a)pyrene Equivalent conversion concentrations using Deed                   documented in sample LB-33 (0-0.5
                                                                                 Restriction maximum concentrations found in surface soil sample LB-33 (0-0.5 ft                  ft bgs) (PAS-00113306).
                                                                                 bgs) (PAS-00113306).                                                                                                      Benzo(a)anthracene                                  840.000            0.1            84.0000
                              0.000001 kg per mg (Merck Index)                                                                                                                                             Benzo(b)fluoranthene                                770.000            0.1            77.0000
                                   151 KILOGRAMS DISCHARGED                                                                                                                                                Benzo(k)fluoranthene                                 0.000            0.01             0.0000
PAHs (others detected)                                                           Other PAHs = Acenaphthene = 130, Acenaphthylene = 65, Anthracene =
                                                                                 420,Fluorene = 250, Fluoranthene = 1200, Naphthalene = 39, Phenanthrene = 1200,
                                                                                 Pyrene = 940 (mg/kg) (PAS-00113306)                                                                                                    Chrysene                           580.000               0.001            0.5800
                                    45 YEARS DISCHARGED                                                                                                                                                                 Dibenz(a,h)anthracene               83.000                1.0            83.0000
                                  4244 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                              Indeno(1,2,3-cd)pyrene             280.000                0.1            28.0000
                              0.000001 kg per mg (Merck Index)                                                                                                                                                          DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                   850 KILOGRAMS DISCHARGED                                                                                                                                                                                              Total Benzo(a)pyrene Equivalents =       752.6
PCBs

                                    45 YEARS DISCHARGED



                                   0.62 MG/KG (MAX CONCENTRATION)                Maximum surface soil concentration found in surface soil (0-3 ft bgs) (PAP-
                                                                                 00328282).
                              0.000001 kg per mg (Merck Index)
                                     0 KILOGRAMS DISCHARGED
DDx
                                    45 YEARS DISCHARGED within DDx Timeline      DDT use began in 1940s - assume present between 1941 and 1986
                                   442 MG/KG (MAX CONCENTRATION SUM)             DDD and DDT concentrations from INI4-2 (1 foot bgs) (PAS-00113127)

                                  3.785 L per gallon (Merck Index)
                              0.000001 kg per mg (Merck Index)
                                     88 KILOGRAMS DISCHARGED
Dieldrin
                                     45 NONE FOUND IN AVAILABLE DOCUMENTATION
                                    0.1 MG/KG (MAX CONCENTRATION)                Maximum surface soil concentration found in soil (2-2.5 ft bgs) (PAP-00328282).

                                  3.785 L per gallon (Merck Index)
                              0.000001 kg per mg (Merck Index)
                                   0.02 KILOGRAMS DISCHARGED
Dioxins/Furans                          NONE FOUND IN AVAILABLE DOCUMENTATION

                                     0 YEARS DISCHARGED
                                     0 MG/KG (MAX CONCENTRATION)
                              0.000001 kg per mg (Merck Index)
                                     0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                                 40.44 kg Copper
                                218.21 kg Lead
                                  4.00 kg Mercury
                                150.66 kg PAHs (Benzo(a)pyrene Equivalent)
                                849.60 kg PAHs (Other)
                                  0.12 kg PCBs
                                 88.48 kg DDx
                                  0.02 kg Dieldrin
                                  0.00 kg Dioxins/Furans

                               1351.53 MASS (KG) DISCHARGED FROM SURFACE SOIL




Conopco FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                                                               ARR2236
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                          Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 38 of 95 PageID: 7063
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Conopco, Inc.
540 New York Avenue                     Lyndhurst       NJ                   07071
 Facility BS   CUF         CUF_Category                                                       CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                           Adjusted BS
  5.764E-5     10.0%   Periodic Noncompliacne       The PVSC documented discharges of unknown off-color materials in the storm sewer that were           -20.0% -20% CPG/SPG member - Continuous provision of               5.188E-5
                                                    traced to be coming from the facility in 1947, 1948, 1956, 1970-1971, 1974, 1976, 1977, and                     funding and participation in PRP Group(s) actions to
                                                    1978. Several of these were noted as violations (see Section 6 of Data Report). An October 23,                  cooperate with governmental/regulatory entities to
                                                    1990, Progress Report on Cleanup of South Drainage Trench referred to notices of violations                     address environmental or public harm created by own
                                                    Penco of Lyndhurst received concerning unpermitted discharges to the storm sewer and from                       activities
                                                    the drainage ditch (PAS-00113370, 372-73). According to the PVSC Weekly Summary of
                                                    Inspections by Inspector, on May 3, 1956, inspection of the Lyndhurst storm sewer showed a jet
                                                    black discharge into the Passaic River that had killed a number of small fish. In May [1977],
                                                    suppression of a fire on para-nitrophenol (PNP) pallets washed PNP into the storm sewer (PAS-
                                                    00112802). Many of the chemicals were stored in above- and below-ground tanks and in 55-
                                                    gallon drums in various locations. Prior to construction Buildings 38 and 39, the area occupied by
                                                    Building 39 was used for storage of solvents in drums. Infrequently, materials were spilled or
                                                    drums ruptured. (see FDR p. 6)

                                                                                                                                                                                                          AP_ABS            5.188E-5




                                                                                                                                                                                                                   ARR2237
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                          Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 39 of 95 PageID: 7064
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Conopco, Inc.
540 New York Avenue                     Lyndhurst       NJ                   07071
 Facility BS   CUF         CUF_Category                                                       CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                           Adjusted BS
  5.597E-2     10.0%   Periodic Noncompliacne       The PVSC documented discharges of unknown off-color materials in the storm sewer that were           -20.0% -20% CPG/SPG member - Continuous provision of               5.037E-2
                                                    traced to be coming from the facility in 1947, 1948, 1956, 1970-1971, 1974, 1976, 1977, and                     funding and participation in PRP Group(s) actions to
                                                    1978. Several of these were noted as violations (see Section 6 of Data Report). An October 23,                  cooperate with governmental/regulatory entities to
                                                    1990, Progress Report on Cleanup of South Drainage Trench referred to notices of violations                     address environmental or public harm created by own
                                                    Penco of Lyndhurst received concerning unpermitted discharges to the storm sewer and from                       activities
                                                    the drainage ditch (PAS-00113370, 372-73). According to the PVSC Weekly Summary of
                                                    Inspections by Inspector, on May 3, 1956, inspection of the Lyndhurst storm sewer showed a jet
                                                    black discharge into the Passaic River that had killed a number of small fish. In May [1977],
                                                    suppression of a fire on para-nitrophenol (PNP) pallets washed PNP into the storm sewer (PAS-
                                                    00112802). Many of the chemicals were stored in above- and below-ground tanks and in 55-
                                                    gallon drums in various locations. Prior to construction Buildings 38 and 39, the area occupied by
                                                    Building 39 was used for storage of solvents in drums. Infrequently, materials were spilled or
                                                    drums ruptured. (see FDR p. 6)

                                                                                                                                                                                                          AP_ABS            5.037E-2




                                                                                                                                                                                                                   ARR2238
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 40 of 95 PageID: 7065
Allocation Facility Cmass Calculation
Cooper Industries LLC                                                                                         7, 13, & 26 Bank Street                            Newark        NJ          07102
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%        -        100.00%      -          100.00%                -           100.00%                  -                    0      1.018817E-2        0
      Lead         100.00%         -        100.00%      -          100.00%                -           100.00%                0.6                  0.58     1.018817E-2       0.01
     Mercury       100.00%         -        100.00%      -          100.00%                -           100.00%                  -                    0      1.018817E-2        0
      HPAHs        100.00%         -        100.00%      -          100.00%                -           100.00%                  -                    0      1.018817E-2        0
      LPAHs        100.00%         -        100.00%      -          100.00%                -           100.00%                  -                    0      1.018817E-2        0
      PCBs         100.00%         -        100.00%      -          100.00%                -           100.00%                  -                    0      1.018817E-2        0
       DDx         100.00%         -        100.00%      -          100.00%                -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -          100.00%                -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -          100.00%                -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2239
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 41 of 95 PageID: 7066
Allocation Facility COC Base Scores - Protocol Calculation
Cooper Industries LLC                                                                                          7, 13, & 26 Bank Street                       Newark   NJ     07102
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00          0                0                    0
      Lead           0.01     3,200,000.00         0.01         1.838E-9            1.838E-11
     Mercury         0.95      42,000.00            0                0                    0
      HPAHs          0.05     240,000.00            0                0                    0
      LPAHs          0.01     170,000.00            0                0                    0
      PCBs          12.87      26,000.00            0                0                    0
       DDx           1.37      27,000.00            0                0                    0
     Dieldrin        0.13       390.00              0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                           ARR2240
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 42 of 95 PageID: 7067
Allocation Facility COC Base Scores - Alternative Calulcation
Cooper Industries LLC                                                                                           7, 13, & 26 Bank Street                                    Newark     NJ     07102
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28                   0                   0                    0                  0            0
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92              2.000E-6               0.01                 6.39              2.000E-6     2.000E-8
     Mercury         0.95      42,000.00          4,322.53              41,955.96                    0                   0                    0                  0            0
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24                   0                   0                    0                  0            0
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72                   0                   0                    0                  0            0
      PCBs          12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                  0            0
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0            0
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                  0            0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                           ARR2241
                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                    Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 43 of 95 PageID: 7068
Facility Bypass Information
 Cooper Industries LLC                               7, 13, & 26 Bank Street                                         Newark                              NJ            07102

Item         Bypass Name     Bypass Type   Time %        Flow %                                                                           Bypass Notes
  1          Passaic River                 100.00%       100.00%                                                             Facility operation prior to PVSC (1924)




                                                                                                                                                                               ARR2242
                                                                    For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
               Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 44 of 95 PageID: 7069
ADR CONFIDENTIAL COMMUNICATION                                                                                                         OU2 Facility                                                                                     FINAL 12/28/2020




 Discharge Calcs                                         Direct Discharge Information                                    COMMENTS/NOTES
                                                         # hours/day discharged                                          No information on discharges - estimating entirely based on Cooper Littleton ave
                                                         # days/week discharged                                          Sheer and Scissors manufacturer
                                                         # weeks/yr discharged                                           J Wiss and Sons operator, sold to Cooper but Cooper states they are not the legal successor to any
                                                   5,200 # gals/yr directly discharged                                   CERCLA liabilities associated with Bank Street. FDR pages 5-6

                                                    4.08 ft; 30yr average annual precipitation per Rutgers information
                                                         acres
                                                  43,560 ft2 per acre
                                                         acres
                                                     50% Percent Precip to River

                                                    1848 Yr Ops started
                                                    1887 Yr Ops ceased
                                                     39 calc #yrs facility operated

 Copper (Cu)
                                                         39 #yrs facility discharged                                     Based on Cooper Littleton Ave
                                                     -      calc mg/L COC discharged                                     FDR Page 5

                                                   3.785 L per gallon (Merck Index)
                                                0.000001 kg per mg (Merck Index)
                                                     -   calc kg COC discharged
 Lead (Pb)
                                                      39 #yrs facility discharged                                        Based on Cooper Littleton Ave
                                                   0.752 calc mg/L COC discharged                                        Lead may have been present FDR Page 5

                                                   3.785 L per gallon (Merck Index)
                                                0.000001 kg per mg (Merck Index)
                                                    0.58 calc kg COC discharged
 Mercury (Hg)
                                                         39 #yrs facility discharged                                     Based on Cooper Littleton Ave
                                                     -      calc mg/L COC discharged                                     FDR Page 5


                                                   3.785 L per gallon (Merck Index)
                                                0.000001 kg per mg (Merck Index)
                                                     -   calc kg COC discharged
 HPAHs
                                                         39 #yrs facility discharged
                                                     -      calc mg/L O&G

                                                     10% % O&G that is considered PAHs
                                                     60% % COC in O&G considered as PAHs
                                                     -   calc mg/L HPAHs
                                                   3.785 L per gallon (Merck Index)
                                                0.000001 kg per mg (Merck Index)
                                                     -   calc kg COC discharged
 LPAHs
                                                       39 #yrs facility discharged
                                                     -    calc mg/L O&G
                                                     10% % O&G that is considered PAHs
                                                     40% % COC in O&G considered as PAHs
                                                     -    calc mg/L LPAHs
                                                   3.785 L per gallon (Merck Index)
                                                0.000001 kg per mg (Merck Index)
                                                     -    calc kg COC discharged
 PCBs
                                                       39    #yrs facility discharged within PCBs Timeline
                                                     -       calc mg/L COC discharged
                                                   3.785     L per gallon (Merck Index)
                                                0.000001     kg per mg (Merck Index)
                                                     -       calc kg COC discharged
 DDx
                                                       39    #yrs facility discharged within DDx Timeline
                                                     -       calc mg/L COC discharged
                                                   3.785     L per gallon (Merck Index)
                                                0.000001     kg per mg (Merck Index)
                                                     -       calc kg COC discharged
 Dieldrin
                                                       39    #yrs facility discharged within Dieldrin Timeline
                                                     -       calc mg/L COC discharged
                                                   3.785     L per gallon (Merck Index)
                                                0.000001     kg per mg (Merck Index)
                                                     -       calc kg COC discharged
 Dioxins/Furans
                                                       39    #yrs facility discharged
                                                     -       calc mg/L COC discharged
                                                   3.785     L per gallon (Merck Index)
                                                0.000001     kg per mg (Merck Index)
                                                     -       calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                                       39    #yrs facility discharged within 2,4-D Timeline
                                                     -       calc mg/L COC discharged
                                                   3.785     L per gallon (Merck Index)
                                                0.000001     kg per mg (Merck Index)
                                                     -       calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                                       39    #yrs facility discharged within 2,4,5-T Timeline
                                                     -       calc mg/L COC discharged
                                                   3.785     L per gallon (Merck Index)
                                                0.000001     kg per mg (Merck Index)
                                                     -       calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                       39    #yrs facility discharged within 2,4,6-TCP Timeline
                                                     -       calc mg/L COC discharged
                                                   3.785     L per gallon (Merck Index)
                                                0.000001     kg per mg (Merck Index)
                                                     -       calc kg COC discharged



 Summary DMassCOC for Direct Discharge:
                                                     -       kg Copper
                                                    0.58     kg Lead
                                                     -       kg Mercury
                                                     -       kg HPAHs
                                                     -       kg LPAHs
                                                     -       kg PCBs
                                                     -       kg DDx
                                                     -       kg Dieldrin
                                                     -       kg Dioxins/Furans




Cooper Bank Street DMass formatted for report                                                                                                1                                                                                ARR2243   Direct_SW_Passaic
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 45 of 95 PageID: 7070
Allocation Facility Cmass Calculation
Cooper Industries LLC                                                                                         33 Littleton Avenue                                Newark        NJ          07107
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%        -        100.00%      -           13.00%             10.54          100.00%                  -                  1.37     1.018817E-2       0.01
      Lead         100.00%         -        100.00%      -           13.00%            566.42          100.00%                  -                  73.65    1.018817E-2       0.75
     Mercury       100.00%         -        100.00%      -           13.00%             29.81          100.00%                  -                  3.88     1.018817E-2       0.04
      HPAHs        100.00%         -        100.00%      -           13.00%                -           100.00%                  -                    0      1.018817E-2        0
      LPAHs        100.00%         -        100.00%      -           13.00%                -           100.00%                  -                    0      1.018817E-2        0
      PCBs         100.00%         -        100.00%      -           13.00%                -           100.00%                  -                    0      1.018817E-2        0
       DDx         100.00%         -        100.00%      -           13.00%                -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -           13.00%                -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           13.00%                -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2244
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 46 of 95 PageID: 7071
Allocation Facility COC Base Scores - Protocol Calculation
Cooper Industries LLC                                                                                          33 Littleton Avenue                           Newark   NJ     07107
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00         0.01         6.648E-9             4.587E-9
      Lead           0.01     3,200,000.00         0.75         2.345E-7             2.345E-9
     Mercury         0.95      42,000.00           0.04         9.402E-7             8.932E-7
      HPAHs          0.05     240,000.00            0                0                    0
      LPAHs          0.01     170,000.00            0                0                    0
      PCBs          12.87      26,000.00            0                0                    0
       DDx           1.37      27,000.00            0                0                    0
     Dieldrin        0.13       390.00              0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                           ARR2245
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 47 of 95 PageID: 7072
Allocation Facility COC Base Scores - Alternative Calulcation
Cooper Industries LLC                                                                                           33 Littleton Avenue                                        Newark     NJ     07107
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28              4.948E-6               0.01                10.38              4.948E-6     3.414E-6
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92              2.552E-4               0.75               815.91              2.552E-4     2.552E-6
     Mercury         0.95      42,000.00          4,322.53              41,955.96               8.967E-4               0.04                37.62              8.967E-4     8.519E-4
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24                   0                   0                    0                  0            0
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72                   0                   0                    0                  0            0
      PCBs          12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                  0            0
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0            0
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                  0            0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                           ARR2246
                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                  Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 48 of 95 PageID: 7073
Facility Bypass Information
 Cooper Industries LLC                            33 Littleton Avenue                                             Newark                                 NJ   07107

Item         Bypass Name   Bypass Type   Time %        Flow %                                                                             Bypass Notes
  1             Clay St       CSO         0.90%        41.36%

 2              Clay St       Bypass     12.63%       100.00%




                                                                                                                                                                      ARR2247
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
               Case 2:22-cv-07326-MCA-LDW Document 289-11
ADR CONFIDENTIAL COMMUNICATION                       OU2 Facility
                                                                  Filed 01/31/24 Page 49 of 95 PageID: 7074
                                                                                                         FINAL 12/28/2020




 Discharge Calcs                                 POTW Discharge Information                            COMMENTS/NOTES
                                                 gal discharged per day/week/month                     PVSC Sewer Permit No. 20400752 (PAP-0004752)
 8-16 hrs/day                                    # hours/per day discharged                            Sanitary and wastewaters to combined sewer, no way for direct discharge to river.
                                               5 #days/week discharged
                                              52 #weeks/yr discharged
                                      22,098,798 calc gal/yr discharge                                 1977 Semi Annual Report = 50000 gpd (PAS-00027647,50), including data from 1981-1985
                                                                                                       1978 PVSC Ind Wastewater Questionnaire (PAS-00000743) = 32403360 gallons
                                            1976 Yr Ops started                                        1980 PVSC Sewer Connection Permit App = 183327 gpd (PAP-00332124)
                                            1985 Yr Ops ceased                                         1980 0.1320 MGD (PAS-00027508,681)
                                              9 calc #yrs facility operated                            December 1, 1976 through December 1985

 Copper (Cu)
                                               9 #yrs facility discharged                              1980 PVSC Sewer App = 0.236 mg/l
                                           0.014 calc mg/L COC discharged                              Background CU concentration in Source Water 0.222 mg/l



                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                           10.54 calc kg COC discharged
 Lead (Pb)
                                               9   #yrs facility discharged
                                           0.752   calc mg/L COC discharged                            1980 PVSC Sewer Connection App; PB = .284, .482 and .457 mg/l
                                           3.785   L per gallon (Merck Index)                          1980 sampling 2.56 mg/l
                                       0.000001    kg per mg (Merck Index)                             1981 PVSC Sewer Connection Ap; 0.042 mg/l Pb
                                          566.42   calc kg COC discharged
 Mercury (Hg)
                                               9   #yrs facility discharged                            1980 PVSC Sewer Connection App; Hg = .045, .116, and .037 mg/l
                                          0.0396   calc mg/L COC discharged                            June 1981 ND, and 48 hr composite sample ND
                                           3.785   L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                           29.81   calc kg COC discharged
 HPAHs
                                               9 #yrs facility discharged
                                                 calc mg/L O&G
                                             10% % O&G that is considered PAHs
                                             60% % COC in O&G considered as PAHs
                                             -   calc mg/L HPAHs
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -   calc kg COC discharged
 LPAHs
                                               9 #yrs facility discharged
                                                 calc mg/L O&G
                                             10% % O&G that is considered PAHs
                                             40% % COC in O&G considered as PAHs
                                             -   calc mg/L LPAHs
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -   calc kg COC discharged
 PCBs
                                                2 #yrs facility discharged within PCBs Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                        -         calc kg COC discharged
 DDx
                                               -3 #yrs facility discharged within DDx Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 Dieldrin
                                               10 #yrs facility discharged within Dieldrin Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 Dioxins/Furans
                                               9   #yrs facility discharged
                                             -     calc mg/L COC discharged
                                           3.785   L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                             -     calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                               10 #yrs facility discharged within 2,4-D Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                               10 #yrs facility discharged within 2,4,5-T Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                0 #yrs facility discharged within 2,4,6-TCP Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged



 Summary DMassCOC for POTW:
                                          10.54    kg Copper
                                         566.42    kg Lead
                                          29.81    kg Mercury
                                            -      kg HPAHs
                                            -      kg LPAHs
                                            -      kg PCBs
                                            -      kg DDx
                                            -      kg Dieldrin
                                            -      kg Dioxins/Furans




Cooper Littleton DMass formatted for report                                                                             1                                                                     ARR2248   POTW_PVSC
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 50 of 95 PageID: 7075
Allocation Facility Cmass Calculation
Cooper Industries LLC                                                                                         75 Belmont Avenue                                  Belleville     NJ         07109
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%    54,902.33    100.00%   204.20         12.41%            367.56          100.00%             4,154.9              59,307.03   1.018817E-2       604.23
      Lead         100.00%     1,578.47     100.00%   120.64         12.41%            217.15          100.00%              167.2                1,893.31   1.018817E-2       19.29
     Mercury       100.00%     2,423.69     100.00%    91.84         12.41%            165.31          100.00%              195.3                2,731.35   1.018817E-2       27.83
      HPAHs        100.00%       0.38       100.00%      -           12.41%                -           100.00%                  -                  0.38     1.018817E-2         0
      LPAHs        100.00%       28.65      100.00%      -           12.41%                -           100.00%                  -                  28.65    1.018817E-2        0.29
      PCBs         100.00%        1.7       100.00%      -           12.41%                -           100.00%                  -                   1.7     1.018817E-2        0.02
       DDx         100.00%         -        100.00%      -           12.41%                -           100.00%                  -                    0      1.018817E-2         0
     Dieldrin      100.00%         -        100.00%      -           12.41%                -           100.00%                  -                    0      1.018817E-2         0
  Dioxins_Furans   100.00%         -        100.00%      -           12.41%                -           100.00%                  -                    0      1.018817E-2         0




                                                                                                                                                                                         ARR2249
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 51 of 95 PageID: 7076
Allocation Facility COC Base Scores - Protocol Calculation
Cooper Industries LLC                                                                                          75 Belmont Avenue                             Belleville   NJ     07109
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00        604.23        2.877E-4             1.985E-4
      Lead           0.01     3,200,000.00        19.29         6.028E-6             6.028E-8
     Mercury         0.95      42,000.00          27.83         6.626E-4             6.294E-4
      HPAHs          0.05     240,000.00            0           1.613E-8            8.066E-10
      LPAHs          0.01     170,000.00           0.29         1.717E-6             1.717E-8
      PCBs          12.87      26,000.00           0.02         6.661E-7             8.573E-6
       DDx           1.37      27,000.00            0                0                    0
     Dieldrin        0.13       390.00              0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                               ARR2250
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 52 of 95 PageID: 7077
Allocation Facility COC Base Scores - Alternative Calulcation
Cooper Industries LLC                                                                                           75 Belmont Avenue                                          Belleville   NJ     07109
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28              2.141E-1              604.23           449,080.36             2.141E-1      1.478E-1
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92              6.561E-3              19.29             20,975.34             6.561E-3      6.561E-5
     Mercury         0.95      42,000.00          4,322.53              41,955.96               6.319E-1              27.83             26,511.37             6.319E-1      6.003E-1
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24              8.743E-8                 0                  0.02              8.743E-8      4.371E-9
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72              9.509E-6               0.29                 1.32              9.509E-6      9.509E-8
      PCBs          12.87      26,000.00         20,066.54              25,795.56               8.472E-5               0.02                 2.19              8.472E-5      1.090E-3
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0             0
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                  0             0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0             0




                                                                                                                                                                                             ARR2251
                                                   For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                   Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 53 of 95 PageID: 7078
Facility Bypass Information
 Cooper Industries LLC                             75 Belmont Avenue                                               Belleville                             NJ   07109

Item         Bypass Name    Bypass Type   Time %       Flow %                                                                              Bypass Notes
  1          Union Outlet     Bypass      12.41%       100.00%




                                                                                                                                                                       ARR2252
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
              Case 2:22-cv-07326-MCA-LDW Document 289-11
ADR CONFIDENTIAL COMMUNICATION                      OU2 Facility
                                                                 Filed 01/31/24 Page 54 of 95 PageID: 7079
                                                                                                        FINAL 12/28/2020




 Discharge Calcs                                POTW Discharge Information                            COMMENTS/NOTES
                                                gal discharged per day/week/month                     From 1966-1987 discharge to PVSC, Prior to that discharge was to Belleville Sewer and Meadow Brook
                                                # hours/per day discharged
                                                #days/week discharged                                 1966 - 32gpm x 236 days/year (PAP-00333570)
                                                #weeks/yr discharged                                  1978 Selected Substance Report - 75000 gpd (PAP-00334489)
                                     25,955,562 calc gal/yr discharge                                 1979 PVSC Sewer Connection Ap - 51495409 gallons (PAP-00402951, 57, 60, 62, 66)
                                                                                                      1980 PVSC Heavy Metal Source Determination Study - 0.1090 MGD (PAS-00027741-46)
                                           1966 Yr Ops started                                        1986 Jan-Mar - 6449000 x 4 quarters (PAP-00402968-70)
                                           1987 Yr Ops ceased
                                            21 calc #yrs facility operated

Copper (Cu)                                                                                           Background influent water copper concentration=.222mg/l
                                              21 #yrs facility discharged                             1980 PVSC Sewer Connection Ap cu=.748 mg/l
                                            -    calc mg/L COC discharged                             1980 PVSC Heavy Metals Source Determination Study cu=.144mg/l



                                          3.785 L per gallon (Merck Index)                            1984 Sampling cu=.026 mg/l PAP-00334524
                                      0.000001 kg per mg (Merck Index)                                1985 sampling cu=.052 mg/l PAP-00333499
                                            -   calc kg COC discharged
Lead (Pb)
                                             21    #yrs facility discharged                           Background influent water Lead concentration=.03mg/l
                                         0.0304    calc mg/L COC discharged                           1980 PVSC Heavy Metals Source Determination Study cpb=.300mg/l
                                          3.785    L per gallon (Merck Index)                         1984 Sampling pb=.025 mg/l PAP-00334524
                                      0.000001     kg per mg (Merck Index)                            1985 sampling pb=.025 mg/l PAP-00333499
                                          62.72    calc kg COC discharged
Mercury (Hg)                                                                                          Background influent water mercury concentration=.0004mg/l
                                             21    #yrs facility discharged                           1980 PVSC Sewer Connection Ap Hg = .15 mg/l
                                         0.0355    calc mg/L COC discharged                           1980 PVSC Heavy Metals Source Determination Study Hg = .025 mg/l
                                          3.785    L per gallon (Merck Index)                         1984 Sampling Hg=.059 mg/l PAP-00334524
                                      0.000001     kg per mg (Merck Index)
                                          73.24    calc kg COC discharged
HPAHs
                                              21 #yrs facility discharged
                                                 calc mg/L O&G
                                            10% % O&G that is considered PAHs
                                            60% % COC in O&G considered as PAHs
                                            -    calc mg/L HPAHs
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
LPAHs
                                              21 #yrs facility discharged
                                                 calc mg/L O&G
                                            10% % O&G that is considered PAHs
                                            40% % COC in O&G considered as PAHs
                                            -    calc mg/L LPAHs
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
PCBs
                                              12 #yrs facility discharged within PCBs Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                       -         calc kg COC discharged
DDx
                                               7 #yrs facility discharged within DDx Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
Dieldrin
                                              22 #yrs facility discharged within Dieldrin Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
Dioxins/Furans
                                              21   #yrs facility discharged
                                            -      calc mg/L COC discharged
                                          3.785    L per gallon (Merck Index)
                                      0.000001     kg per mg (Merck Index)
                                            -      calc kg COC discharged
Dioxin/Furan Precursor - 2,4-D
                                              22 #yrs facility discharged within 2,4-D Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,5-T
                                              20 #yrs facility discharged within 2,4,5-T Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,6-TCP
                                              10 #yrs facility discharged within 2,4,6-TCP Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged



Summary DMassCOC for POTW:
                                            -      kg Copper
                                          62.72    kg Lead
                                          73.24    kg Mercury
                                            -      kg HPAHs
                                            -      kg LPAHs
                                            -      kg PCBs
                                            -      kg DDx
                                            -      kg Dieldrin
                                            -      kg Dioxins/Furans




Cooper Belmont DMass formatted for report                                                                             1                                                                                    ARR2253   POTW_PVSC
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-11
ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
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 Discharge Calcs                                   POTW Discharge Information                         COMMENTS/NOTES
                                                   gal discharged per day/week/month                  From 1966-1987 discharge to PVSC, Prior to that discharge was to Belleville Sewer and Meadow
                                                                                                      Brook
                                                 # hours/per day discharged
                                                 #days/week discharged                                1966 - 32gpm x 236 days/year (PAP-00333570)
                                                 #weeks/yr discharged                                 1978 Selected Substance Report - 75000 gpd (PAP-00334489)
                                      25,955,562 calc gal/yr discharge                                1979 PVSC Sewer Connection Ap - 51495409 gallons (PAP-00402951, 57, 60, 62, 66)
                                                                                                      1980 PVSC Heavy Metal Source Determination Study - 0.1090 MGD (PAS-00027741-46)
                                            1942 Yr Ops started                                       1986 Jan-Mar - 6449000 x 4 quarters (PAP-00402968-70)
                                            1966 Yr Ops ceased
                                             24 calc #yrs facility operated

 Copper (Cu)
                                             24    #yrs facility discharged                           1980 PVSC Sewer Connection Ap cu=.748 mg/l
                                           0.24    calc mg/L COC discharged                           1980 PVSC Heavy Metals Source Determination Study cu=.144mg/l
                                          3.785    L per gallon (Merck Index)                         1984 Sampling cu=.026 mg/l PAP-00334524
                                       0.000001    kg per mg (Merck Index)                            1985 sampling cu=.052 mg/l PAP-00333499
                                         571.77    calc kg COC discharged
 Lead (Pb)
                                             24    #yrs facility discharged
                                           0.12    calc mg/L COC discharged                           1980 PVSC Heavy Metals Source Determination Study cpb=.300mg/l
                                          3.785    L per gallon (Merck Index)                         1984 Sampling pb=.025 mg/l PAP-00334524
                                       0.000001    kg per mg (Merck Index)                            1985 sampling pb=.025 mg/l PAP-00333499
                                         275.08    calc kg COC discharged
 Mercury (Hg)
                                             24    #yrs facility discharged                           1980 PVSC Sewer Connection Ap Hg = .15 mg/l
                                         0.0780    calc mg/L COC discharged                           1980 PVSC Heavy Metals Source Determination Study Hg = .025 mg/l
                                          3.785    L per gallon (Merck Index)                         1984 Sampling Hg=.059 mg/l PAP-00334524
                                       0.000001    kg per mg (Merck Index)
                                         183.91    calc kg COC discharged
 HPAHs
                                              24 #yrs facility discharged
                                                 calc mg/L O&G
                                            10% % O&G that is considered PAHs
                                            60% % COC in O&G considered as PAHs
                                            -    calc mg/L HPAHs
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 LPAHs
                                              24 #yrs facility discharged
                                                 calc mg/L O&G
                                            10% % O&G that is considered PAHs
                                            40% % COC in O&G considered as PAHs
                                            -    calc mg/L LPAHs
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 PCBs
                                              25 #yrs facility discharged within PCBs Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                        -        calc kg COC discharged
 DDx
                                              25 #yrs facility discharged within DDx Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dieldrin
                                              17 #yrs facility discharged within Dieldrin Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxins/Furans
                                              24   #yrs facility discharged
                                            -      calc mg/L COC discharged
                                          3.785    L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                            -      calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                              21 #yrs facility discharged within 2,4-D Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                              22 #yrs facility discharged within 2,4,5-T Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                              17 #yrs facility discharged within 2,4,6-TCP Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged



 Summary DMassCOC for POTW:
                                         571.77    kg Copper
                                         275.08    kg Lead
                                         183.91    kg Mercury
                                            -      kg HPAHs
                                            -      kg LPAHs
                                            -      kg PCBs
                                            -      kg DDx
                                            -      kg Dieldrin




Cooper Belmont DMass formatted for report                                                                          3                                                                                 ARR2254   POTW_Belleville
                                                      For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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ADR CONFIDENTIAL COMMUNICATION                   OU2 Facility
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                                        -   kg Dioxins/Furans




Cooper Belmont DMass formatted for report                                                          4                                                 ARR2255   POTW_Belleville
                                                                 For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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ADR CONFIDENTIAL COMMUNICATION                                                                                                      OU2 Facility                                                                 FINAL 12/28/2020




 Discharge Calcs                                       Direct Discharge Information                                    COMMENTS/NOTES
                                                       # hours/day discharged                                          1889-1942
                                                       # days/week discharged                                          Direct Discharge to Meadow Brook which flows to Second River to Passaic River
                                                       # weeks/yr discharged
                                            25,955,562 # gals/yr directly discharged

                                                  4.08 ft; 30yr average annual precipitation per Rutgers information
                                                       acres
                                                43,560 ft2 per acre
                                                       acres
                                                   50% Percent Precip to River

                                                  1909 Yr Ops started                                                  FDR page 3
                                                  1965 Yr Ops ceased                                                   FDR page 3
                                                   56 calc #yrs facility operated                                      FDR page 3

 Copper (Cu)                                                                                                           Background influent water copper concentration=.222mg/l
                                                       56 #yrs facility discharged                                     1980 PVSC Sewer Connection Ap cu=.748 mg/l
                                                   -      calc mg/L COC discharged                                     1980 PVSC Heavy Metals Source Determination Study cu=.144mg/l



                                                3.785 L per gallon (Merck Index)                                       1984 Sampling cu=.026 mg/l PAP-00334524
                                             0.000001 kg per mg (Merck Index)                                          1985 sampling cu=.052 mg/l PAP-00333499
                                                  -   calc kg COC discharged
 Lead (Pb)
                                                   56      #yrs facility discharged                                    Background influent water Lead concentration=.03mg/l
                                               0.0304      calc mg/L COC discharged                                    1980 PVSC Heavy Metals Source Determination Study cpb=.300mg/l
                                                3.785      L per gallon (Merck Index)                                  1984 Sampling pb=.025 mg/l PAP-00334524
                                             0.000001      kg per mg (Merck Index)                                     1985 sampling pb=.025 mg/l PAP-00333499
                                               167.25      calc kg COC discharged
 Mercury (Hg)                                                                                                          Background influent water mercury concentration=.0004mg/l
                                                   56      #yrs facility discharged                                    1980 PVSC Sewer Connection Ap Hg = .15 mg/l
                                               0.0355      calc mg/L COC discharged                                    1980 PVSC Heavy Metals Source Determination Study Hg = .025 mg/l
                                                3.785      L per gallon (Merck Index)                                  1984 Sampling Hg=.059 mg/l PAP-00334524
                                             0.000001      kg per mg (Merck Index)
                                               195.30      calc kg COC discharged
 HPAHs
                                                       56 #yrs facility discharged
                                                   -      calc mg/L O&G

                                                  25% % O&G that is considered PAHs
                                                  60% % COC in O&G considered as PAHs
                                                  -   calc mg/L HPAHs
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -   calc kg COC discharged
 LPAHs
                                                    56 #yrs facility discharged
                                                  -    calc mg/L O&G
                                                  25% % O&G that is considered PAHs
                                                  40% % COC in O&G considered as PAHs
                                                  -    calc mg/L LPAHs
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 PCBs
                                                    56     #yrs facility discharged within PCBs Timeline
                                                  -        calc mg/L COC discharged
                                                3.785      L per gallon (Merck Index)
                                             0.000001      kg per mg (Merck Index)
                                                  -        calc kg COC discharged
 DDx
                                                    56     #yrs facility discharged within DDx Timeline
                                                  -        calc mg/L COC discharged
                                                3.785      L per gallon (Merck Index)
                                             0.000001      kg per mg (Merck Index)
                                                  -        calc kg COC discharged
 Dieldrin
                                                    56     #yrs facility discharged within Dieldrin Timeline
                                                  -        calc mg/L COC discharged
                                                3.785      L per gallon (Merck Index)
                                             0.000001      kg per mg (Merck Index)
                                                  -        calc kg COC discharged
 Dioxins/Furans
                                                    56     #yrs facility discharged
                                                  -        calc mg/L COC discharged
                                                3.785      L per gallon (Merck Index)
                                             0.000001      kg per mg (Merck Index)
                                                  -        calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                                    56     #yrs facility discharged within 2,4-D Timeline
                                                  -        calc mg/L COC discharged
                                                3.785      L per gallon (Merck Index)
                                             0.000001      kg per mg (Merck Index)
                                                  -        calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                                    56     #yrs facility discharged within 2,4,5-T Timeline
                                                  -        calc mg/L COC discharged
                                                3.785      L per gallon (Merck Index)
                                             0.000001      kg per mg (Merck Index)
                                                  -        calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                    56     #yrs facility discharged within 2,4,6-TCP Timeline
                                                  -        calc mg/L COC discharged
                                                3.785      L per gallon (Merck Index)
                                             0.000001      kg per mg (Merck Index)
                                                  -        calc kg COC discharged



 Summary DMassCOC for Direct Discharge:
                                                  -        kg Copper
                                               167.25      kg Lead
                                               195.30      kg Mercury
                                                  -        kg HPAHs
                                                  -        kg LPAHs
                                                  -        kg PCBs
                                                  -        kg DDx
                                                  -        kg Dieldrin
                                                  -        kg Dioxins/Furans




Cooper Belmont DMass formatted for report                                                                                                5                                                             ARR2256   Direct_SW_Passaic
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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ADR CONFIDENTIAL COMMUNICATION                                                                                                    OU2 Facility                                                    FINAL 12/28/2020




 Discharge Calcs                                       Direct Discharge Information                                    COMMENTS/NOTES
                                                       # hours/day discharged                                          1913-1939 discharge from lagoons to Meadow Brook
                                                       # days/week discharged
                                                       # weeks/yr discharged
                                            14,123,892 # gals/yr directly discharged

                                                  4.08 ft; 30yr average annual precipitation per Rutgers information
                                                       acres
                                                43,560 ft2 per acre
                                                       acres
                                                   50% Percent Precip to River

                                                  1900 Yr Ops started                                                  FDR Page 7
                                                  1960 Yr Ops ceased                                                   FDR Page 7
                                                   55 calc #yrs facility operated                                      FDR Page 7 - w/ adjustment for facility being closed 1904-1909

 Copper (Cu)                                                                                                           Background influent water copper concentration=.222mg/l
                                                    55 #yrs facility discharged                                        PAP-00334684
                                                  3.92 calc mg/L COC discharged                                        PAP-00049910 and PAP-00335678


                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                              4,154.88 calc kg COC discharged
 Lead (Pb)
                                                    55 #yrs facility discharged
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 Mercury (Hg)
                                                    55   #yrs facility discharged
                                                  -      calc mg/L COC discharged
                                                3.785    L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                  -      calc kg COC discharged
 HPAHs
                                                    55 #yrs facility discharged
                                                       calc mg/L O&G

                                                  25% % O&G that is considered PAHs
                                                  60% % COC in O&G considered as PAHs
                                                  -   calc mg/L HPAHs
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -   calc kg COC discharged
 LPAHs
                                                    55 #yrs facility discharged
                                                       calc mg/L O&G
                                                  25% % O&G that is considered PAHs
                                                  40% % COC in O&G considered as PAHs
                                                  -    calc mg/L LPAHs
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 PCBs
                                                    55   #yrs facility discharged within PCBs Timeline
                                                  -      calc mg/L COC discharged
                                                3.785    L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                  -      calc kg COC discharged
 DDx
                                                    55   #yrs facility discharged within DDx Timeline
                                                  -      calc mg/L COC discharged
                                                3.785    L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                  -      calc kg COC discharged
 Dieldrin
                                                    55   #yrs facility discharged within Dieldrin Timeline
                                                  -      calc mg/L COC discharged
                                                3.785    L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                  -      calc kg COC discharged
 Dioxins/Furans
                                                    55   #yrs facility discharged
                                                  -      calc mg/L COC discharged
                                                3.785    L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                  -      calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                                    55   #yrs facility discharged within 2,4-D Timeline
                                                  -      calc mg/L COC discharged
                                                3.785    L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                  -      calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                                    55   #yrs facility discharged within 2,4,5-T Timeline
                                                  -      calc mg/L COC discharged
                                                3.785    L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                  -      calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                    55   #yrs facility discharged within 2,4,6-TCP Timeline
                                                  -      calc mg/L COC discharged
                                                3.785    L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                  -      calc kg COC discharged



 Summary DMassCOC for Direct Discharge:
                                              4,154.88   kg Copper
                                                   -     kg Lead
                                                   -     kg Mercury
                                                   -     kg HPAHs
                                                   -     kg LPAHs
                                                   -     kg PCBs
                                                   -     kg DDx
                                                   -     kg Dieldrin
                                                   -     kg Dioxins/Furans




Cooper Belmont DMass formatted for report                                                                                              6                                                ARR2257   Direct_SW_Other3
                                                                                                                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Discharge Calcs                    Direct Discharge Information                         ASSUMPTIONS, REFERENCES                                                                  COMMENTS/NOTES
                              4.08 FEET/YEAR AVERAGE PRECIPITATION                      Long term average annual precipitation includes floods and hurricane events              Data from Rutgers University.
                                                                                        occurring over time.




                                15 ACRES - TOTAL SITE AREA (acres) FDR pg 1             Approx 7 acres within property line when surface soil sampled 1986 ECRA SES,
                                                                                        (PAP-00049203 pg. 114)




                                 8 ACRES - AFFECTED AREA                                1925 drawing of Silver Lake Plant (PAP-00332567) with 'coke' and 'cake' piles            Due to confirmed airborne surface soil Per FDR (pp 1 & 2)
                                                                                        adjacent to 50,000 ga. fuel oil AST, north of Red Iron Oxide Bldg.                       deposition of Hg (FDR pg. 10), 100% combined site covers 15
                                                                                        Preliminary Assessment Report, (Stantec May 24, 2012) Fig 2 has overlay of               of the property is deemed impacted acres.
                                                                                        former buildings prior to parking lot (PAP-00334892). F and T Figures is 9 acres.        for Hg. Other COCs will be 50% of
                                                                                        With parking lot (Google Earth figure), 15 acres includes former sludge pond             1986 acreage or calculations due to
                                                                                        location.                                                                                presence of buildings.


                          4,046.86 METERS2/ACRE

                            30,351 METERS2 (AFFECTED AREA)

                            0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                  For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                        inches/year.

                                 3 METERS3/YEAR (ERODED SOIL VOLUME)                    VOLUME/YEAR DISCHARGED

                              1900 Year site operations began                           Originally operated as Edison Manufacturing Company, a battery manufacturer
                                                                                        in the early 1900s. Year operation began is 1900, as supported with FDR Section
                                                                                        3 dating the construction of buildings.


                              1987 Year site processing and storage operations ceased   The Final Preliminary Assessment Final Remedial Investigation Report, dated
                                                                                        May 6, 2017 (Final RI Report), stated that the buildings associated with the
                                                                                        Thomas A. Edison, Inc. Chemical Plant were demolished in the early 1970’s, and
                                                                                        the property remained vacant until it was redeveloped as a retail grocery store
                                                                                        and laundromat with associated parking lots in 1980 (PAP-00334737, 840).




                                87 NUMBER YEARS DISCHARGE

                               264 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)




                             1,979 KG/M3 SOIL DENSITY                                   layers of unconsolidated sand, silt, and clay. (PAP-00049305). Bulk density range The Allocation Team has concluded that the Site is not on regional
                                                                                        1602 kg/m3 to 2355 kg/m3, so use average of 1978.5 kg/m3. Sandy or silty clay     Historic Fill as designated by the NJDEP.

                           522,438 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)

Copper (Cu)                                                                             1986 ECRA SES TABLE IV-1 (PAP-00049327)
                                87 YEARS DISCHARGED                                     Subsurface soil value (1-2 ft bgs) as surface soil is similar and was assumed to be
                                                                                        at least that high to impact two feet down.
                            80000 MG/KG (MAX CONCENTRATION)                             The highest concentration of copper in subsurface soil (1-3 ft bgs) was 80,000
                                                                                        ppm (PAP-00049316-17, 28-29).
                         0.000001 kg per mg (Merck Index)
                            41,795 KILOGRAMS DISCHARGED
Lead (Pb)                                                                               1986 ECRA SES TABLE IV-1 (PAP-00049327)
                                87 YEARS DISCHARGED
                              2300 MG/KG (AVERAGE CONCENTRATION)                        Soil sample S-5 result from 2.5 feet bgs, listed in Summary of Historical
                                                                                        Analytical Results in Area B (FDR page 13; PAP-00065653)
                         0.000001 kg per mg (Merck Index)
                             1,202 KILOGRAMS DISCHARGED
Mercury (Hg)                                                                            Operation of Hg/Zn amalgamation may have resulted in disposition elemental
                                                                                        Hg on property. August 20, 1986 ECRA SES Pg. 36.

                                87 YEARS DISCHARGED
                             2,005 MG/KG (MAX CONCENTRATION)                            The highest concentration of mercury in surface soil was 2,005 ppm, detected
                         0.000001 kg per mg (Merck Index)                               between the main building and Building No. 57 (PAP-00049327)
                             2,095 KILOGRAMS DISCHARGED




Cooper - Belmont FT Mass- Final.XLSX


                                                                                                                                                                                                                                                    ARR2258
                                                                                                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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PAHs (listed in Benzo(a)pyrene                                                 Total concentration of PAH compounds for Benzo(a)pyrene Equivalent
Equivalent conversion table)                                                   https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                                                     Toxic
                                                                               equivalents-conversion-table-one-sample.                                                                                                                  Concentration     Equivalency    Benzo(a)pyrene
                                                                                                                                                                                                                    Contaminant            (mg/kg)           Factor        Equivalents
                                 87 YEARS DISCHARGED                                                                                                                 Table 9, Sample IDB-P10S (1.8-2.8 ft Benzo(a)pyrene                     0.390               1.0          0.3900
                              0.552 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)                                                                                                        bgs) (PAP-00334938) Benzo(a)anthracene                    0.430               0.1          0.0430
                          0.000001 kg per mg (Merck Index)                                                                                                                                                Benzo(b)fluoranthene               0.690               0.1          0.0690
                               0.29 KILOGRAMS DISCHARGED                                                                                                                                                  Benzo(k)fluoranthene               0.250              0.01          0.0025
PAHs (others detected)                                                         Phenanthrene - 7.7 ppm                                                                                                     Chrysene                           0.560              0.001         0.0006
                                87 YEARS DISCHARGED                            Acenaphthylene - 2.4 ppm                                                                                                   Dibenz(a,h)anthracene              0.037               1.0          0.0370
                             54.20 MG/KG (TOTAL PAH MAX CONCENTRATION)         2-methylnaphthalene - 35 ppm                                                                                               Indeno(1,2,3-cd)pyrene             0.100               0.1          0.0100
                          0.000001 kg per mg (Merck Index)                     Naphthalene - 3.4 ppm                                                                                                      DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                28 KILOGRAMS DISCHARGED                        Fluorene - 5.7 ppm
                                                                               Table 9, Sample ID B-P31S (5.0-6.0 ft bgs)
                                                                                                                                                                                                                                     Total Benzo(a)pyrene Equivalents =       0.552
PCBs
                                   57 YEARS DISCHARGED
                                 3.36 MG/KG (MAX OF REPORTED CONCENTRATIONS)   PCBs were detected in TCLP composite sample 3.36 ppm (PAP-00332584).
                                                                               Reduced discharge period to 1930-1987.




                          0.000001 kg per mg (Merck Index)
                                 1 KILOGRAMS DISCHARGED
DDx
                                 0 YEARS DISCHARGED within DDx Timeline
                                   MG/KG (MAX CONCENTRATION)
                             3.785 L per gallon (Merck Index)
                          0.000001 kg per mg (Merck Index)
                                 0 KILOGRAMS DISCHARGED
Dieldrin
                                 0 YEARS DISCHARGED within Dieldrin Timeline
                                   MG/KG (MAX CONCENTRATION)
                             3.785 L per gallon (Merck Index)
                          0.000001 kg per mg (Merck Index)
                                 0 KILOGRAMS DISCHARGED
Dioxins/Furans                     NONE FOUND IN AVAILABLE DOCUMENTATION       NOT DETECTED (FDR)
                                 0 YEARS DISCHARGED
                                 0 MG/KG (MAX CONCENTRATION)
                          0.000001 kg per mg (Merck Index)
                                 0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                    41,795.04 kg Copper
                     1,201.61 kg Lead
                     2,094.98 kg Mercury
                         0.29 kg PAHs (Benzo(a)pyrene Equivalent)
                        28.32 kg PAHs (Other)
                         1.15 kg PCBs
                         0.00 kg DDx
                         0.00 kg Dieldrin
                         0.00 kg Dioxins/Furans

                          45121.38 MASS (KG) DISCHARGED FROM SURFACE SOIL




Cooper - Belmont FT Mass- Final.XLSX


                                                                                                                                                                                                                                                                                           ARR2259
                                                                                                                                       For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Discharge Calcs                    Direct Discharge Information                       NOTES, COMMENTS, REFERENCES
                              0.46 FEET for 6 flooding events                         AVERAGE SHOULD INCLUDE FLOODS AND HURRICANE EVENTS OVER TIME                              6 qty, 11,532 gallon release events ( 6 foot deep 1,992 sf
                                                                                                                                                                                basin), equals 0.46 feet in a 1,992 basin.

                                15 ACRES - TOTAL SITE AREA (acres)                    FDR pg 1
                              0.04 ACRES - AFFECTED AREA                              ESTIMATED LAGOON AND NEUTRALIZATION AREA (PAS-00109548)
                          4,046.86 METERS2/ACRE                                       Preliminary Assessment Report, Fig 2 (PAP-00334892) has overlay of former                 Unknown, but given 100,000-gal water released in 1948
                                                                                      buildings prior to parking lot with former sludge pond in upper left corner.              flood event and 1,922 sq ft area of lagoon, assume
                                                                                      Approximately 1,922 sqft.                                                                 greater than 1,000 gal released.

                                                                                                                                                                                On May 30, 1984, the sedimentation impoundment
                                                                                                                                                                                overflowed. The accidental discharge was due to a
                                                                                                                                                                                blockage of the discharge line and extremely heavy rains.
                                                                                                                                                                                The overflow went to a neighboring homeowner's
                                                                                                                                                                                property and accumulated in an area being prepared for
                                                                                                                                                                                an in-ground swimming pool. (PAP-00049278)


                               162 METERS2 (AFFECTED AREA)



                            0.0170 METERS/YEAR (ERODED SOIL THICKNESS)                With 3.7% solids in sludge (PAP-00332945) and a one time event, 0.037*0.46 feet
                                                                                      of flood water in 1,992 basin, eroded soil thickness is 0.01702
                                                                                                                                                                                12755.10204

                              2.76 METERS3/YEAR (ERODED SOIL VOLUME)                  ASSUME VOLUME/YEAR DISCHARGED TO DITCHES AND FIRST CREEK

                                   YEAR STARTED DISCHARGING TO LAGOON
                                   SITE REMEDIATION, GEOTEXTILE, ASPHALT COVER

                                 1 NUMBER YEARS DISCHARGE                             Years of discharge (6 flooding events) converted to one time depth in 1,992 sf
                                                                                      pond.

                              2.76 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)


                             1,024 KG/M3 SOIL DENSITY                                 sludge density is 1.024 kg/L at 1000L/m3 = 1024 kg/m3                                     McGraw-Edison Company to Caldwell Trucking Company,
                                                                                                                                                                                Inc. may 9, 1973 re: sludge contents (PAP-00332945).
                                                                                                                                                                                Total solids of 33,500 mg/L or 3.7% by weight equals a
                                                                                                                                                                                density of 1.024 kg/L for converting the estimated
                                                                                                                                                                                concentration of sludge to solid released during flooding
                                                                                                                                                                                events.

                             2,821 KILOGRAMS (TOTAL WT OF SOIL AFFECTED OVER TIME)



Copper (Cu)
                                 1 YEARS DISCHARGED
                             31.25 MG/KG (MAX CONCENTRATION)                          Copper from sludge,(32 mg/L * 1000 L/m3)/1024 kg/m3 density of sludge.
                                                                                      (FDR, PAGE 6, 2nd paragraph and PAP-00332945).



                          0.000001 kg per mg (Merck Index)
                             0.088 KILOGRAMS DISCHARGED
Lead (Pb)
                                 1 YEARS DISCHARGED
                                10 MG/KG (MAX CONCENTRATION)                          Samples of the settling pit were collected January 18, 1983 and reported up to
                                                                                      75.53 mg/kg mercury and 10.03 mg/kg lead (note units of measure were not
                                                                                      clearly identified). Copper was not reported (PAP-CONF-00009957).
                          0.000001 kg per mg (Merck Index)
                                 0 KILOGRAMS DISCHARGED
Mercury (Hg)
                                 1 YEARS DISCHARGED
                              75.5 MG/KG (MAX CONCENTRATION)                          Samples of the settling pit were collected January 18, 1983 and reported up to
                                                                                      75.53 mg/kg mercury and 10.03 mg/kg lead (note units of measure were not
                                                                                      clearly identified). Copper was not reported (PAP-CONF-00009957).

                          0.000001 kg per mg (Merck Index)
                               0.21 KILOGRAMS DISCHARGED

SUMMARY CMASS ESTIMATES:
                              0.09 kg Copper
                              0.03 kg Lead
                              0.21 kg Mercury


                              0.33 MASS (KG) DISCHARGED BY OVERLAND FLOW




Cooper - Belmont FT Mass- Final.XLSX

                                                                                                                                                                                                                                             ARR2260
                                                                                                                                                                   For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Discharge Calcs                     Direct Discharge Information                       NOTES, COMMENTS, REFERENCES
                               0.46 FEET for 6 flooding events                         AVERAGE SHOULD INCLUDE FLOODS AND HURRICANE EVENTS OVER TIME


                                       ACRES - TOTAL SITE AREA (acres)
                                                                                       ESTIMATED 30-ft DIA Scoured hole from 10" pipe break on May 12, 1948 (PAS-
                                                                                       00050268) Fire sprinkler line would be below the frost line (6' bgs) so with scour of
                                                                                       a 30-ft diameter hole with an average depth of 8-feet would release asproximately
                                                                                       5,652 cubic feet or 160 m3 of soil. Using the same density as for surface erosion,
                                       ACRES - AFFECTED AREA                           1978.5 mg/m3 equals 163,840 kg
                           4,046.86 METERS2/ACRE

                                  0 METERS2 (AFFECTED AREA)

                                                                                       PVSC inspection records 1938-1948 noted events such as heavy rains caused
                                                                                       flooding at facility site. 5/12/1948 wastes flowed into Second River from Meadow
                                                                                       Brook storm sewer; Second River looked like "river of blood all the way down to its
                                                                                       confluence with the Passaic River.” Discharge from facility site, caused by waterline
                                                                                       break, releasing 100,000 gals water, flooded all north side bldgs, undermined bldgs,
                                                                                       produced 30-ft hole in yard resulting in collapse of all 3 industrial sewers. (PAP-
                                                                                       00050259)
                             0.0170 METERS/YEAR (ERODED SOIL THICKNESS)

                               0.00 METERS3/YEAR (ERODED SOIL VOLUME)                  ASSUME VOLUME/YEAR DISCHARGED

                                       YEAR STARTED DISCHARGING TO LAGOON
                                       SITE REMEDIATION, GEOTEXTILE, ASPHALT COVER

                                  1 NUMBER YEARS DISCHARGE

                               0.00 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)



                              1,979 KG/M3 SOIL DENSITY                                 Layers of unconsolidated sand, silt, and clay. (PAP-00049305). Bulk density range
                                                                                       1602 kg/m3 to 2355 kg/m3, so use average of 1978.5 kg/m3. Sandy or silty clay
                                                                                       forhttp://structx.com/Soil_Properties_002.html

                            163,840 KILOGRAMS (TOTAL WT OF SOIL AFFECTED FROM SCOUR)


Copper (Cu)                                                                            1986 ECRA SES TABLE IV-1 (PAP-00049327)
                                  1 YEARS DISCHARGED                                   Subsurface soil value (1-2 ft bgs) as surface soil is similar and was assumed to be at
                                                                                       least that high to impact two feet down.
                             80000 MG/KG (MAX CONCENTRATION)                           The highest concentration of copper in subsurface soil (1-3 ft bgs) was 80,000 ppm
                                                                                       (PAP-00049316-17, 28-29).
                           0.000001 kg per mg (Merck Index)
                         13,107.200 KILOGRAMS DISCHARGED
Lead (Pb)                                                                              1986 ECRA SES TABLE IV-1 (PAP-00049327)
                                  1 YEARS DISCHARGED
                               2300 MG/KG (MAX CONCENTRATION)                          Soil sample S-5 result from 2.5 feet bgs, listed in Summary of Historical Analytical
                                                                                       Results in Area B (FDR page 13; PAP-00065653)
                          0.000001 kg per mg (Merck Index)
                               377 KILOGRAMS DISCHARGED
Mercury (Hg)                                                                           Operation of Hg/Zn amalgamation may have resulted in disposition elemental Hg
                                                                                       on property. August 20, 1986 ECRA SES Pg. 36.
                                    1 YEARS DISCHARGED
                                2,005 MG/KG (MAX CONCENTRATION)                        The highest concentration of mercury in surface soil was 2,005 ppm, detected
                            0.000001 kg per mg (Merck Index)                           between the main building and Building No. 57 (PAP-00049327)
                               328.50 KILOGRAMS DISCHARGED
PAHs (listed in Benzoic Pyrene                                                         Total concentration of PAH compounds for Benzo(a)pyrene Equivalent
Equivalent conversion table)                                                           https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                                                                                                Toxic
                                                                                       equivalents-conversion-table-one-sample.                                                                                                                                                            Concentration      Equivalency       Benzo(a)pyrene
                                                                                                                                                                                                                                   Contaminant                                               (mg/kg)            Factor           Equivalents
                                  1 YEARS DISCHARGED                                                                                                                                Table 9, Sample IDB-P10S (1.8-2.8 ft Benzo(a)pyrene (0.39mg/kg< HF 1.89)                                   0.390              1.0               0.3900
                              0.552 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)            Attributed to historic fill - The 2017 Final RI Report attributed the PAHs (except 2-                      bgs) (PAP-00334938)
                                                                                       methylnaphthalene) concentrations in soil to historic fill (PAP-00334877).
                                                                                                                                                                                                                                   Benzo(a)anthracene (0.43mg/kg< HF 1.37)                     0.430               0.1              0.0430
                          0.000001 kg per mg (Merck Index)                                                                                                                                                                         Benzo(b)fluoranthene (0.69g/kg< HF 1.91)                    0.690               0.1              0.0690
                               0.09 KILOGRAMS DISCHARGED                                                                                                                                                                           Benzo(k)fluoranthene (0.25mg/kg< HF 1.79)                   0.250              0.01              0.0025
PAHs (others detected)                                                                 Benzo (g,h,i) perylene - 0.09J ppm                                                                                                          Chrysene                                                    0.560             0.001              0.0006
                                 28 YEARS DISCHARGED                                   Fluoranthene - 0.63 ppm                                                                                                                     Dibenz(a,h)anthracene (0.024mg/kg< HF 1.24)                 0.037               1.0              0.0370
                               2.00 MG/KG (TOTAL PAH MAX CONCENTRATION)                Phenanthrene - 0.2J                                                                                                                         Indeno(1,2,3-cd)pyrene                                      0.100               0.1              0.0100
                          0.000001 kg per mg (Merck Index)                             Pyrene - 0.49 ppm                                                                                                                           DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                               0.33 KILOGRAMS DISCHARGED                               Anthracene - 0.59J                                                                                                                                                                                  Total Benzo(a)pyrene Equivalents =       0.552




Cooper - Belmont FT Mass- Final.XLSX


                                                                                                                                                                                                                                                                                                                                                 ARR2261
                                                                                                                                                   For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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PCBs
                                 28 YEARS DISCHARGED within PCBs Timeline
                               3.36 MG/KG (MAX OF REPORTED CONCENTRATIONS)      PCBs were detected in TCLP composite sample 3.36 ppm (PAP-00332584).

                          0.000001 kg per mg (Merck Index)
                                 1 KILOGRAMS DISCHARGED
DDx
                                  0 YEARS DISCHARGED within DDx Timeline
                                    MG/KG (CONCENTRATION)                       NO CONCENTRATION INFO
                              3.785 L per gallon (Merck Index)
                          0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Dieldrin
                                  0 YEARS DISCHARGED within Dieldrin Timeline   NO CONCENTRATION INFO
                                    MG/KG (CONCENTRATION)
                              3.785 L per gallon (Merck Index)
                          0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Dioxins/Furans
                                 0 YEARS DISCHARGED
                                   MG/KG (CONCENTRATION)                        NO CONCENTRATION INFO
                          0.000001 kg per mg (Merck Index)
                                 0 calc kg COC discharged


SUMMARY CMASS ESTIMATES:
                    13,107.20 kg Copper
                       376.83 kg Lead
                       328.50 kg Mercury
                         0.09 kg PAHs MAX
                         0.33 kg PAHs MAX
                         0.55 kg PCBs
                         0.00 kg DDx
                         0.00 kg Dieldrin
                         0.00 kg Dioxins/Furans


                          13,813.50 MASS (KG) DISCHARGED BY OVERLAND FLOW




Cooper - Belmont FT Mass- Final.XLSX


                                                                                                                                                                                                                                                  ARR2262
                                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                     Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 64 of 95 PageID: 7089
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Cooper Industries LLC
7, 13, & 26 Bank Street                              Newark              NJ                   07102
 Facility BS   CUF                   CUF_Category                                                              CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                            Adjusted BS
 1.838E-11     0.0%    Historically Compliant or No Evidence No information on violations or sloppy practices was identified in the available file material.              -20.0% -20% CPG/SPG member - Continuous provision of               1.470E-11
                                                                                                                                                                                     funding and participation in PRP Group(s) actions to
                                                                                                                                                                                     cooperate with governmental/regulatory entities to
                                                                                                                                                                                     address environmental or public harm created by own
                                                                                                                                                                                     activities

75 Belmont Avenue                                    Belleville          NJ                   07109
 Facility BS   CUF                   CUF_Category                                                              CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                            Adjusted BS
  8.366E-4     10.0%           Periodic Noncompliacne                PVSC issued a notice to desist pollution to Edison Chemical Company at Belleville on May 1, 1939     -20.0% -20% CPG/SPG member - Continuous provision of               7.530E-4
                                                                     (PAS-00028126). A record of ten years of inspections performed by the PVSC on the Edison                        funding and participation in PRP Group(s) actions to
                                                                     Company, Storage Battery Division, in Silver Lake, Belleville, dated June 15, 1948, documented                  cooperate with governmental/regulatory entities to
                                                                     the investigation of contamination entering the Second River. NJDEP issued a Directive Letter to                address environmental or public harm created by own
                                                                     McGraw Edison on June 6, 1984, to cease operation of the unlined pretreatment lagoons (PAP-                     activities
                                                                     00049811). An August 4, 1987, NJDEP Inspection Report stated that the facility did not have a
                                                                     hazardous waste management program consistent with hazardous waste regulations. A NOV
                                                                     would have been issued, but the operations had ceased (PAP-00050211-13). On May 12, 1948,
                                                                     “exceptionally strong iron wastes were found flowing into the Second River from the Meadow
                                                                     Brook storm sewer of such intensity that Second River looked like a river of blood all the way
                                                                     down to its confluence with the Passaic River.” The discharge emanated from Edison Storage
                                                                     Battery Division, Belmont Avenue, Belleville facility. The cause was a waterline break that
                                                                     resulted in releasing 100,000 gallons of water that flooded all north side buildings, undermined
                                                                     the buildings and producing a 30-foot hole in the yard and resulting in subsequent collapse of all
                                                                     three industrial sewers. Chemicals, sand, and finished chemical materials were washed into the
                                                                     sewer and caused a blockage. The broken water line was repaired with a sleeve and the pipes
                                                                     broke again. The large hole filled with an acid and iron solution. A pump line from the hole
                                                                     drained the mixture into the clear water line directly to the storm sewer and into Second River.
                                                                     The waste could not be put into the sanitary sewer until new sewer pipes had been installed. The
                                                                     acid corroded the pumps and caused them to fail...(PAP-00050268-69).

33 Littleton Avenue                                  Newark              NJ                   07107
 Facility BS   CUF                   CUF_Category                                                              CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                            Adjusted BS
  9.002E-7     0.0%    Historically Compliant or No Evidence The report stated that two wipe samples collected from stained areas on the concrete floor near -20.0% -20% CPG/SPG member - Continuous provision of                            7.201E-7
                                                                     the transformers inside the building contained PCB levels of 58 and 119 ppm. The report stated                  funding and participation in PRP Group(s) actions to
                                                                     that “it is presumed that the elevated PCB levels PCBs were assumed to have resulted from                       cooperate with governmental/regulatory entities to
                                                                     historical spills from the transformers prior to retrofilling” (PAS-00027729). No indication of                 address environmental or public harm created by own
                                                                     release of contamination to exterior of building. No information on NOVs was identified in the                  activities
                                                                     available file material.
                                                                                                                                                                                                                                    ARR2263
               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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                                                                                                                   ARR2264
                                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                     Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 66 of 95 PageID: 7091
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Cooper Industries LLC
7, 13, & 26 Bank Street                              Newark              NJ                   07102
 Facility BS   CUF                   CUF_Category                                                              CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                            Adjusted BS
  2.000E-8     0.0%    Historically Compliant or No Evidence No information on violations or sloppy practices was identified in the available file material.              -20.0% -20% CPG/SPG member - Continuous provision of               1.600E-8
                                                                                                                                                                                     funding and participation in PRP Group(s) actions to
                                                                                                                                                                                     cooperate with governmental/regulatory entities to
                                                                                                                                                                                     address environmental or public harm created by own
                                                                                                                                                                                     activities

75 Belmont Avenue                                    Belleville          NJ                   07109
 Facility BS   CUF                   CUF_Category                                                              CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                            Adjusted BS
  7.492E-1     10.0%           Periodic Noncompliacne                PVSC issued a notice to desist pollution to Edison Chemical Company at Belleville on May 1, 1939     -20.0% -20% CPG/SPG member - Continuous provision of               6.743E-1
                                                                     (PAS-00028126). A record of ten years of inspections performed by the PVSC on the Edison                        funding and participation in PRP Group(s) actions to
                                                                     Company, Storage Battery Division, in Silver Lake, Belleville, dated June 15, 1948, documented                  cooperate with governmental/regulatory entities to
                                                                     the investigation of contamination entering the Second River. NJDEP issued a Directive Letter to                address environmental or public harm created by own
                                                                     McGraw Edison on June 6, 1984, to cease operation of the unlined pretreatment lagoons (PAP-                     activities
                                                                     00049811). An August 4, 1987, NJDEP Inspection Report stated that the facility did not have a
                                                                     hazardous waste management program consistent with hazardous waste regulations. A NOV
                                                                     would have been issued, but the operations had ceased (PAP-00050211-13). On May 12, 1948,
                                                                     “exceptionally strong iron wastes were found flowing into the Second River from the Meadow
                                                                     Brook storm sewer of such intensity that Second River looked like a river of blood all the way
                                                                     down to its confluence with the Passaic River.” The discharge emanated from Edison Storage
                                                                     Battery Division, Belmont Avenue, Belleville facility. The cause was a waterline break that
                                                                     resulted in releasing 100,000 gallons of water that flooded all north side buildings, undermined
                                                                     the buildings and producing a 30-foot hole in the yard and resulting in subsequent collapse of all
                                                                     three industrial sewers. Chemicals, sand, and finished chemical materials were washed into the
                                                                     sewer and caused a blockage. The broken water line was repaired with a sleeve and the pipes
                                                                     broke again. The large hole filled with an acid and iron solution. A pump line from the hole
                                                                     drained the mixture into the clear water line directly to the storm sewer and into Second River.
                                                                     The waste could not be put into the sanitary sewer until new sewer pipes had been installed. The
                                                                     acid corroded the pumps and caused them to fail...(PAP-00050268-69).

33 Littleton Avenue                                  Newark              NJ                   07107
 Facility BS   CUF                   CUF_Category                                                              CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                            Adjusted BS
  8.578E-4     0.0%    Historically Compliant or No Evidence The report stated that two wipe samples collected from stained areas on the concrete floor near -20.0% -20% CPG/SPG member - Continuous provision of                            6.863E-4
                                                                     the transformers inside the building contained PCB levels of 58 and 119 ppm. The report stated                  funding and participation in PRP Group(s) actions to
                                                                     that “it is presumed that the elevated PCB levels PCBs were assumed to have resulted from                       cooperate with governmental/regulatory entities to
                                                                     historical spills from the transformers prior to retrofilling” (PAS-00027729). No indication of                 address environmental or public harm created by own
                                                                     release of contamination to exterior of building. No information on NOVs was identified in the                  activities
                                                                     available file material.
                                                                                                                                                                                                                                    ARR2265
               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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                                                                                                                   ARR2266
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                                   Allocator’s Determinations Regarding
                                 Legal Defenses Raised by Allocation Parties

    COOPER INDUSTRIES – Bank Street
    Cooper argues that it has no connection to or CERCLA liability for the Wiss Family Operations
    at these locations. The FDR acknowledges that Cooper never owned any of these locations or
    was connected to the operations at them. When Cooper acquired the assets of a New Jersey
    corporation, J. Wiss & Sons Co., in 1976, it acquired assets related to J. Wiss & Sons Co.’s then-
    operations at several locations, including at the Littleton Avenue location in Newark. Cooper
    assumed only specific and narrowly defined liabilities of J. Wiss & Sons Co. It did not assume
    any CERCLA liabilities of that corporation, much less those associated with these operations
    involving individual Wiss family members that ended more than a decade before J. Wiss & Sons
    Co. was incorporated. United States v. Gen. Battery Corp., 423 F.3d 294, 305 (3d Cir. 2005)
    (appropriate indirect liability standard for CERCLA actions is the general rule of corporate-
    successor non-liability, i.e., an acquiring company is generally not liable for the debts and
    liabilities of a selling company except in certain instances).

    Cooper never owned or conducted any operations at any of the Bank Street locations. J. Wiss &
    Sons, Co. never operated at the Bank Street locations and was not formed until over ten years
    after the Bank Street real property was sold to Prudential Insurance Company (PAP-00332550;
    PAP-00331502).

    In the 1976 transaction wherein Cooper acquired certain assets of J. Wiss & Sons Co., Cooper
    did not assume any CERCLA liabilities of J. Wiss & Sons Co. or of any alleged predecessors to
    J. Wiss & Sons Co., including any such liabilities with respect to the Bank Street
    locations.

    Cooper disputes that it has any liability associated with the Primary Battery Facility operations
    prior to that period, when those operations were owned and operated by Thomas A. Edison, Inc.
    (‘TAE’) or after McGraw-Edison’s ownership/operations of the Primary Battery Facility ended
    in 1985 (i.e., Battery Products, Inc. operations).

    In addition, the following statement was provided regarding the Storage Battery Business
    (Chemical Works plant): Cooper’s liability, if any, for purposes of the Allocation does not
    extend to operations associated with the Storage Battery Business. When Cooper merged with
    McGraw-Edison in 1985, any liabilities that McGraw-Edison may have had with respect to the
    Storage Battery Business had already been transferred to and assumed by Electric Storage
    Battery Company (later referred to as Exide Technologies). Any operations in and after 1960
    would be the responsibility of Exide, and Cooper has no connection to or liabilities for any such
    operations.

    In addition, regarding the liabilities transferred to Exide, Cooper contends that those liabilities
    would not include any liabilities related to the operations prior to the 1957 TAE transaction.

    ALLOCATOR’S DETERMINATION – Though Cooper Industries may have a sustainable argument
    regarding its allegation that it did not accept the CERCLA liability of J. Wiss & Sons, there is an




                                                                                                                  ARR2267
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    insufficient demonstration of applicable case law and facts to support this claim based on available data.
    Though the Allocator presumes a substantial chance of success should this matter go to litigation with
    sufficient evidence, we leave this matter as a topic for settlement discussions between Cooper Industries
    and EPA.




                                                                                                                   ARR2268
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Allocation Facility Cmass Calculation
Covanta Essex Company                                                                                         66 &183 Raymond Blvd.                              Newark        NJ          07105
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%        -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      Lead         100.00%         -        100.00%      -           0.00%                 -           100.00%               16.0                  15.98    1.018817E-2       0.16
     Mercury       100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      HPAHs        100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      LPAHs        100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      PCBs         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
       DDx         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2269
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 71 of 95 PageID: 7096
Allocation Facility COC Base Scores - Protocol Calculation
Covanta Essex Company                                                                                          66 &183 Raymond Blvd.                         Newark   NJ     07105
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00          0                0                    0
      Lead           0.01     3,200,000.00         0.16         5.087E-8            5.087E-10
     Mercury         0.95      42,000.00            0                0                    0
      HPAHs          0.05     240,000.00            0                0                    0
      LPAHs          0.01     170,000.00            0                0                    0
      PCBs          12.87      26,000.00            0                0                    0
       DDx           1.37      27,000.00            0                0                    0
     Dieldrin        0.13       390.00              0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                           ARR2270
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 72 of 95 PageID: 7097
Allocation Facility COC Base Scores - Alternative Calulcation
Covanta Essex Company                                                                                           66 &183 Raymond Blvd.                                      Newark     NJ     07105
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28                   0                   0                    0                  0            0
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92              5.536E-5               0.16                 177.              5.536E-5     5.536E-7
     Mercury         0.95      42,000.00          4,322.53              41,955.96                    0                   0                    0                  0            0
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24                   0                   0                    0                  0            0
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72                   0                   0                    0                  0            0
      PCBs          12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                  0            0
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0            0
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                  0            0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                           ARR2271
                                                 For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                 Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 73 of 95 PageID: 7098
Facility Bypass Information
 Covanta Essex Company                           66 &183 Raymond Blvd.                                           Newark                             NJ                07105

Item        Bypass Name   Bypass Type   Time %        Flow %                                                                         Bypass Notes
  1          Newark Bay     Bypass       0.00%         0.00%                                                         Did not discharge waste into the Passaic river




                                                                                                                                                                              ARR2272
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 74 of 95 PageID: 7099
ADR CONFIDENTIAL COMMUNICATION                                                                                                  OU2 Facility                                                  FINAL 12/28/2020




Discharge Calcs                                   Direct Discharge Information                                 COMMENTS/NOTES
                                                  # hours/day discharged                                       NJDPES Storm water Discharge Permit for discharge to Passaic River

                                               # days/week discharged                                          1990 permit flow rates PAS-00049021
                                               # weeks/yr discharged                                           DNS001 = 2.8-40gpm
                                     9,276,840 # gals/yr directly discharged                                   DNS002 = 2.8-25gpm
                                                                                                               No Discharge to the PVSC, "other water" Recycled
                                          4.08 ft; 30yr average annual precipitation per Rutgers information
                                               acres
                                        43,560 ft2 per acre
                                               acres
                                           50% Percent Precip to River

                                          1990 Yr Ops started
                                          1997 Yr Ops ceased                                                   Facility went to 0 discharge in 1997
                                            7 calc #yrs facility operated

Copper (Cu)
                                             7 #yrs facility discharged
                                               calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                     0.000001 kg per mg (Merck Index)
                                           -   calc kg COC discharged
Lead (Pb)
                                             7    #yrs facility discharged                                     Lead Results
                                          0.22    calc mg/L COC discharged                                     196 ug/l PAS-00082812-14
                                         3.785    L per gallon (Merck Index)                                   169-260ug/l PAS-00049054
                                     0.000001     kg per mg (Merck Index)                                      196-295 ug/l
                                         52.84    calc kg COC discharged                                       204 ug/l PAS00106082
Mercury (Hg)
                                             7 #yrs facility discharged
                                               calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                     0.000001 kg per mg (Merck Index)
                                           -   calc kg COC discharged
HPAHs
                                               7 #yrs facility discharged
                                           -     calc mg/L O&G

                                           10% % O&G that is considered PAHs
                                           60% % COC in O&G considered as PAHs
                                           -   calc mg/L HPAHs
                                         3.785 L per gallon (Merck Index)
                                     0.000001 kg per mg (Merck Index)
                                           -   calc kg COC discharged
LPAHs
                                             7 #yrs facility discharged
                                           -   calc mg/L O&G
                                           10% % O&G that is considered PAHs
                                           40% % COC in O&G considered as PAHs
                                           -   calc mg/L LPAHs
                                         3.785 L per gallon (Merck Index)
                                     0.000001 kg per mg (Merck Index)
                                           -   calc kg COC discharged
PCBs
                                             7    #yrs facility discharged within PCBs Timeline
                                           -      calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                     0.000001     kg per mg (Merck Index)
                                           -      calc kg COC discharged
DDx
                                             7    #yrs facility discharged within DDx Timeline
                                           -      calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                     0.000001     kg per mg (Merck Index)
                                           -      calc kg COC discharged
Dieldrin
                                             7    #yrs facility discharged within Dieldrin Timeline
                                           -      calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                     0.000001     kg per mg (Merck Index)
                                           -      calc kg COC discharged
Dioxins/Furans
                                             7    #yrs facility discharged
                                           -      calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                     0.000001     kg per mg (Merck Index)
                                           -      calc kg COC discharged
Dioxin/Furan Precursor - 2,4-D
                                             7    #yrs facility discharged within 2,4-D Timeline
                                           -      calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                     0.000001     kg per mg (Merck Index)
                                           -      calc kg COC discharged
Dioxin/Furan Precursor - 2,4,5-T
                                             7    #yrs facility discharged within 2,4,5-T Timeline
                                           -      calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                     0.000001     kg per mg (Merck Index)
                                           -      calc kg COC discharged
Dioxin/Furan Precursor - 2,4,6-TCP
                                             7    #yrs facility discharged within 2,4,6-TCP Timeline
                                           -      calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                     0.000001     kg per mg (Merck Index)
                                           -      calc kg COC discharged



Summary DMassCOC for Direct Discharge:
                                           -      kg Copper
                                         15.98    kg Lead
                                           -      kg Mercury
                                           -      kg HPAHs
                                           -      kg LPAHs
                                           -      kg PCBs
                                           -      kg DDx
                                           -      kg Dieldrin
                                           -      kg Dioxins/Furans




Covanta DMass formatted for report                                                                                                    1                                             ARR2273   Direct_SW_Passaic
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                          Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 75 of 95 PageID: 7100
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Covanta Essex Company
66 &183 Raymond Blvd.                   Newark         NJ                   07105
 Facility BS   CUF         CUF_Category                                                      CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                          Adjusted BS
 3.815E-10     5.0%   Occasional Noncompliance     According to a NJDEP letter, dated June 22, 1988, the site was given an "unacceptable" rating for    -20.0% -20% CPG/SPG member - Continuous provision of               3.243E-10
                                                   failing to monitor stormwater discharges and inaccurately reporting on discharge monitoring                     funding and participation in PRP Group(s) actions to
                                                   reports that there were no stormwater discharges (PAS-00082684). A 1991 compliance                              cooperate with governmental/regulatory entities to
                                                   inspection gave the facility an “unacceptable” rating due to lead effluent violations, operational              address environmental or public harm created by own
                                                   deficiencies (including the presence of ash piles on the ground), and the facility's effluent at                activities
                                                   outfall DSN001 was black at inspection, violating the facility’s permit which is for stormwater
                                                   only (PAS-00082812-14). On or about December 1, 1992, NJDEP and ARF entered into an
                                                   Administrative Consent Order. ARF had exceeded certain discharge limits for lead, among others,
                                                   in its NJPDES permit (PAS-00106056). Potential for contamination to be caused by preexisting
                                                   conditions not CE actions

                                                                                                                                                                                                         AP_ABS           3.243E-10




                                                                                                                                                                                                                  ARR2274
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                          Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 76 of 95 PageID: 7101
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Covanta Essex Company
66 &183 Raymond Blvd.                   Newark         NJ                   07105
 Facility BS   CUF         CUF_Category                                                      CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                          Adjusted BS
 4.152E-7      5.0%   Occasional Noncompliance     According to a NJDEP letter, dated June 22, 1988, the site was given an "unacceptable" rating for    -20.0% -20% CPG/SPG member - Continuous provision of               3.529E-7
                                                   failing to monitor stormwater discharges and inaccurately reporting on discharge monitoring                     funding and participation in PRP Group(s) actions to
                                                   reports that there were no stormwater discharges (PAS-00082684). A 1991 compliance                              cooperate with governmental/regulatory entities to
                                                   inspection gave the facility an “unacceptable” rating due to lead effluent violations, operational              address environmental or public harm created by own
                                                   deficiencies (including the presence of ash piles on the ground), and the facility's effluent at                activities
                                                   outfall DSN001 was black at inspection, violating the facility’s permit which is for stormwater
                                                   only (PAS-00082812-14). On or about December 1, 1992, NJDEP and ARF entered into an
                                                   Administrative Consent Order. ARF had exceeded certain discharge limits for lead, among others,
                                                   in its NJPDES permit (PAS-00106056). Potential for contamination to be caused by preexisting
                                                   conditions not CE actions

                                                                                                                                                                                                         AP_ABS            3.529E-7




                                                                                                                                                                                                                  ARR2275
                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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                                  Allocator’s Determinations Regarding
                                Legal Defenses Raised by Allocation Parties

    COVANTA
    Covanta argues that it is not and has never been the current owner or operator or former owner or
    operator of the LPRSA [Lower Passaic River Study Area]. Nor is there any evidence or
    suggestion that Covanta was a transporter of hazardous substances to the LPRSA. Accordingly,
    it appears that USEPA [United States Environmental Protection Agency] is contending that
    Covanta may be liable under CERCLA [Comprehensive Environmental Response,
    Compensation and Liability Act] as an arranger. Arranger liability requires that Covanta took
    intentional steps to dispose of a hazardous substance.…As the United States Supreme Court has
    explained, intentional steps means that it must be proven that Covanta actually intended to
    dispose of hazardous substances in the LPRSA.…Covanta operates, and since 1997 has operated,
    the ECRRF as a zero discharge facility, except during unusual storm events.…The only evidence
    allegedly connecting Covanta to the LPRSA is the stormwater exceedances in ditches at the
    Property. These exceedances, however, are not attributable to the ECRRF or Covanta. Instead,
    these exceedances all stem from pre-existing contamination on the Property – property subjected
    to illegal dumping, previously owned by the NRHA [Newark Redevelopment and Housing
    Authority], and currently owned by the Port Authority – as well as offsite, upgradient sources
    and surface water backflow from the Passaic River. Simply put, there is no evidence that
    Covanta disposed of anything in the LPRSA (i.e., engaged in some active conduct that caused
    the discharge, deposit, injection, dumping, spilling, leaking, or placing of any hazardous
    substances in the LPRSA)….Even if evidence of the disposal of hazardous substances by
    Covanta did exist (and it does not), there is no evidence that Covanta intended to dispose of any
    hazardous substances in the LPRSA. Without intent, Covanta cannot be an arranger under
    CERCLA – even if Covanta knew or should have known that stormwater runoff carrying pre-
    existing contamination at the Property or contamination from other parties could discharge to the
    LPRSA.

    In addition, Covanta asserts that, even putting aside the lack of evidence that Covanta is an
    arranger, there is another problem with seeking to hold Covanta liable under CERCLA for
    LPRSA impacts: Covanta’s hazardous substances, if any, have not caused and will not cause the
    incurrence of response costs. In order to be liable under CERCLA, Covanta’s releases of
    hazardous substances must cause the incurrence of response costs…. although lead is a COC for
    the LPRSA, USEPA has determined…that lead is not driving any response actions. In addition,
    none of the other substances detected in stormwater at the Property are COCs for the LPRSA. As
    hazardous substances in the Property’s stormwater discharges will not cause the incurrence of
    LPRSA response costs, Covanta cannot be liable under CERCLA. Covanta reserves the right to
    assert additional defenses in the future.

    ALLOCATOR’S DETERMINATION – As noted in the information regarding the site submitted
    by Covanta, it is clear the Covanta had stormwater discharges from their property that have
    contributed lead, one of the COCs identified by EPA, to the Lower Passaic. While they may be
    correct that the lead was deposited on their property by a former owner, that they have not
    intended to have stormwater discharges, and that lead is not the primary driver for the
    remediation, none of those arguments avoid liability under CERCLA. The Allocator does not




                                                                                                                 ARR2276
                   For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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    believe that Covanta will prevail in an action to overturn EPA’s determination of Covanta as a
    PRP based on the available information. The possibility that a COC was transported to the
    facility site from an offsite location was taken into account in determining Covanta’s allocated
    share.




                                                                                                                  ARR2277
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 79 of 95 PageID: 7104
Allocation Facility Cmass Calculation
Curtiss-Wright Corporation                                                                                    1 Passaic Avenue                                   Wood-         NJ          07075
                                                                                                                                                                 Ridge
  Constituent Of   Overland,     Dmass      PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport     Fate &                                                                   C%                                    Cmass
                       C%      Transport
     Copper         100.00%     1,762.36    100.00%      -           2.32%            1,986.37         100.00%                  -                1,808.44   1.018817E-2      18.42
      Lead         100.00%     12,817.15    100.00%      -           2.32%             744.89          100.00%                  -               12,834.43   1.018817E-2      130.76
     Mercury       100.00%       45.93      100.00%      -           2.32%              3.35           100.00%                  -                  46.01    1.018817E-2       0.47
      HPAHs        100.00%       72.86      100.00%      -           2.32%            2,234.66         100.00%                  -                  124.7    1.018817E-2       1.27
      LPAHs        100.00%       66.01      100.00%      -           2.32%            1,489.78         100.00%                  -                 100.57    1.018817E-2       1.02
      PCBs         100.00%       18.69      100.00%      -           2.32%                 -           100.00%                  -                  18.69    1.018817E-2       0.19
       DDx         100.00%         -        100.00%      -           2.32%                 -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -           2.32%                 -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           2.32%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2278
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 80 of 95 PageID: 7105
Allocation Facility COC Base Scores - Protocol Calculation
Curtiss-Wright Corporation                                                                                     1 Passaic Avenue                              Wood-   NJ     07075
                                                                                                                                                             Ridge
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00        18.42         8.774E-6             6.054E-6
      Lead           0.01     3,200,000.00        130.76        4.086E-5             4.086E-7
     Mercury         0.95      42,000.00           0.47         1.116E-5             1.060E-5
      HPAHs          0.05     240,000.00           1.27         5.294E-6             2.647E-7
      LPAHs          0.01     170,000.00           1.02         6.027E-6             6.027E-8
      PCBs          12.87      26,000.00           0.19         7.324E-6             9.426E-5
       DDx           1.37      27,000.00            0                0                    0
     Dieldrin        0.13       390.00              0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                          ARR2279
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 81 of 95 PageID: 7106
Allocation Facility COC Base Scores - Alternative Calulcation
Curtiss-Wright Corporation                                                                                      1 Passaic Avenue                                           Wood-      NJ     07075
                                                                                                                                                                           Ridge
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28              6.530E-3              18.42             13,693.77             6.530E-3     4.505E-3
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92              4.447E-2              130.76           142,188.58             4.447E-2     4.447E-4
     Mercury         0.95      42,000.00          4,322.53              41,955.96               1.064E-2               0.47               446.57              1.064E-2     1.011E-2
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24              2.869E-5               1.27                 5.62              2.869E-5     1.435E-6
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72              3.338E-5               1.02                 4.65              3.338E-5     3.338E-7
      PCBs          12.87      26,000.00         20,066.54              25,795.56               9.314E-4               0.19                24.03              9.314E-4     1.199E-2
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0            0
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                  0            0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                           ARR2280
                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                     Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 82 of 95 PageID: 7107
Facility Bypass Information
 Curtiss-Wright Corporation                          1 Passaic Avenue                                                Wood-Ridge                             NJ   07075

Item         Bypass Name      Bypass Type   Time %       Flow %                                                                              Bypass Notes
  1            Yantacaw         Bypass       2.32%       100.00%




                                                                                                                                                                         ARR2281
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-11
ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
                                                                Filed 01/31/24 Page 83 of 95 PageID: 7108
                                                                                                       FINAL 12/28/2020




 Discharge Calcs                        POTW Discharge Information                             COMMENTS/NOTES
                                        gal discharged per day/week/month                      Limited information on Discharge COCs and no information on Discharge Flows.
                                        # hours/per day discharged                             Based on Otis Elevator assuming 24MGY to PVSC
                                        #days/week discharged
                                        #weeks/yr discharged
                             24,000,000 calc gal/yr discharge

                                    1942 Yr Ops started
                                    1983 Yr Ops ceased
                                     41 calc #yrs facility operated

 Copper (Cu)
                                      41   #yrs facility discharged                            1979-1984 Data Cu=.2 mg/l PAP-0456964-101
                                    0.53   calc mg/L COC discharged                            1983 sample Cu = .72 and .68 mg/l PAP-00457009
                                   3.785   L per gallon (Merck Index)
                               0.000001    kg per mg (Merck Index)
                                1,986.37   calc kg COC discharged
 Lead (Pb)
                                     41    #yrs facility discharged                            1979-1984 Data Pb=.2 mg/l PAP-0456964-101
                                   0.20    calc mg/L COC discharged
                                  3.785    L per gallon (Merck Index)
                               0.000001    kg per mg (Merck Index)
                                 744.89    calc kg COC discharged
 Mercury (Hg)
                                     41    #yrs facility discharged                            1981 Sample Data Hg=.0009mg/l PAP-00457060
                                 0.0009    calc mg/L COC discharged
                                  3.785    L per gallon (Merck Index)
                               0.000001    kg per mg (Merck Index)
                                   3.35    calc kg COC discharged
 HPAHs
                                      41 #yrs facility discharged                              Assuming 10 mg/l O&G
                                   10.00 calc mg/L O&G
                                     10% % O&G that is considered PAHs
                                     60% % PAHs considered as HPAHs
                                       1 calc mg/L HPAHs
                                   3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                2,234.66 calc kg COC discharged
 LPAHs
                                      41 #yrs facility discharged                              Assuming 10 mg/l O&G
                                   10.00 calc mg/L O&G
                                     10% % O&G that is considered PAHs
                                     40% % PAHs considered as LPAHs
                                       0 calc mg/L LPAHs
                                   3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                1,489.78 calc kg COC discharged
 PCBs
                                      36 #yrs facility discharged within PCBs Timeline
                                    -    calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                -        calc kg COC discharged
 DDx
                                      31 #yrs facility discharged within DDx Timeline
                                    -    calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -    calc kg COC discharged
 Dieldrin
                                      34 #yrs facility discharged within Dieldrin Timeline
                                    -    calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -    calc kg COC discharged
 Dioxins/Furans
                                      41 #yrs facility discharged
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -     calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                       38 #yrs facility discharged within 2,4-D Timeline
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -     calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                       39 #yrs facility discharged within 2,4,5-T Timeline
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -     calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                       26 #yrs facility discharged within 2,4,6-TCP Timeline
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -     calc kg COC discharged



 Summary DMassCOC for POTW:
                          1,986.37         kg Copper
                            744.89         kg Lead
                              3.35         kg Mercury
                          2,234.66         kg HPAHs
                          1,489.78         kg LPAHs
                               -           kg PCBs
                               -           kg DDx
                               -           kg Dieldrin
                               -           kg Dioxins/Furans




Curtiss-Wright DMass formatted for report                                                                          1                                                          ARR2282   POTW_PVSC
                                                                                                                                                                      For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                                   Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 84 of 95 PageID: 7109




Discharge Calcs                       Direct Discharge Information                         ASSUMPTIONS, REFERENCES                                                               COMMENTS/NOTES
                                 4.08 FEET/YEAR AVERAGE PRECIPITATION                      Long term average annual precipitation includes floods and hurricane events occurring Data from Rutgers University.
                                                                                           over time.

                                  160 ACRES - TOTAL SITE AREA (acres)                      FDR page 1
                                115.0 ACRES - AFFECTED AREA                                In 1951, the main, shared occupancy building is 38 acres, 6 NE-SW orientated buildings
                                                                                           cover approximately 7 acres (PAP-00190307). Removing the building coverage from the
                                                                                           160 acres total leaves 115 acres subject to erosion.

                             4,046.86 METERS2/ACRE

                             465,389 METERS2 (AFFECTED AREA)

                               0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                  For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                           inches/year.

                                     47 METERS3/YEAR (ERODED SOIL VOLUME)                  VOLUME/YEAR DISCHARGED

                                 1943 Year site operations began                           Curtiss-Wright Corp operated an aircraft engine manufacturing palnt at the site from
                                                                                           March 1943 until November 1983. (PAP-00190346).
                                 2001 Year site processing and storage operations ceased   Curtiss-Wright Corp owned site through 2001 (FDR page 1)

                                     58 NUMBER YEARS DISCHARGE

                                2,699 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)


                                1,979 KG/M3 SOIL DENSITY                                   Unconsolidated surface deposits generally consist of sand, silt, clay, and fine sand (PAP-
                                                                                           00393240). Bulk density range 1,602 KG/M3 to 2,355 KG/M3, so use average 1978.5
                                                                                           kg/m3 for Sandy or Silty Clay on (http://structx.com/Soil_Properties_002.html)


                           5,340,477 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)           Facility is not located on historic fill (FDR page 4)


Copper (Cu)
                                   58 YEARS DISCHARGED
                                  330 MG/KG (MAX CONCENTRATION)                            Soil boring sample (PAP-00393057)
                            0.000001 kg per mg (Merck Index)
                                1,762 KILOGRAMS DISCHARGED
Lead (Pb)
                                   58 YEARS DISCHARGED
                                 2400 MG/KG (AVERAGE CONCENTRATION)                        Soil boring sample (PAP-00393057)
                            0.000001 kg per mg (Merck Index)
                               12,817 KILOGRAMS DISCHARGED
Mercury (Hg)
                                   58 YEARS DISCHARGED
                                  8.6 MG/KG (MAX CONCENTRATION)                            Soil boring sample (PAP-00393057)
                            0.000001 kg per mg (Merck Index)
                                   46 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                                             Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                                                                                                                                Toxic
Equivalent conversion table)                                                               https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                                                     Concentration   Equivalency     Benzo(a)pyrene
                                                                                           equivalents-conversion-table-one-sample.                                                                                                 Contaminant                             (mg/kg)         Factor         Equivalents
                                   58 YEARS DISCHARGED                                                                                                                                    TABLE 7.1-1 Sample SS-C 0.0-0.5 Benzo(a)pyrene                                      9.300           1.0             9.3000
                                 13.6 MG/KG (TOTAL PAH MAX CONCENTRATION)                  No documentation of PAHs can be located other than the Rotary Power 1987 Post                           ft bgs (PAP-00393180)
                                                                                           Excavation Soil Sample Results, Table 7.1-1 (PAP-00393180)                                                                     Benzo(a)anthracene                                  8.900            0.1            0.8900
                            0.000001 kg per mg (Merck Index)                                                                                                                                                              Benzo(b)fluoranthene                                0.000            0.1            0.0000
                                  73 KILOGRAMS DISCHARGED                                                                                                                                                                 Benzo(k)fluoranthene                               12.400           0.01            0.1240
PAHs (others detected)                                                                     Data below the Benzo(a)pyrene Equivalent Table                                                                                 Chrysene                                            9.300          0.001            0.0093
                                     58 YEARS DISCHARGED
                                                                                                                                                                                                                                    Dibenz(a,h)anthracene             3.000             1.0                   3.0000
                                  12 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                                            Indeno(1,2,3-cd)pyrene            3.200             0.1                   0.3200
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                        DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                  66 KILOGRAMS DISCHARGED                                                                                                                                                                                                            Total Benzo(a)pyrene Equivalents =        13.6
PCBs

                                     58 YEARS DISCHARGED                                                                                                                                                                            TABLE 7.1-1 Sample SS-C 0.0-0.5 ft bgs (PAP-
                                                                                                                                                                                                                                    00393180)
                                  3.5 MG/KG (MAX OF REPORTED CONCENTRATIONS)               Soil sample OF-29.1A from 5.5-6.0 ft below grade (PAP-00393154)                                                                          Anthracene                 1.7
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                        Acenaphthene               0.82
                                   19 KILOGRAMS DISCHARGED                                                                                                                                                                          Acenaphthylene             0
                                                                                                                                                                                                                                    Fluorene                   0.44
SUMMARY CMASS ESTIMATES:                                                                                                                                                                                                            Naphthalene                          0.1
                     1,762.36 kg Copper                                                                                                                                                                                             Phenanthrene                         9.3
                    12,817.15 kg Lead                                                                                                                                                                                               2-Methylnaphthalene                  0
                         45.93 kg Mercury                                                                                                                                                                                           SUM                                  12.36
                         72.86 kg PAHs (Benzo(a)pyrene Equivalent)
                         66.01 kg PAHs (Other)
                         18.69 kg PCBs

                            14782.99 MASS (KG) DISCHARGED FROM SURFACE SOIL




Curtiss-Wright FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                                                                           ARR2283
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 85 of 95 PageID: 7110
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Curtiss-Wright Corporation
1 Passaic Avenue                        Wood-            NJ                   07075
                                        Ridge
 Facility BS   CUF           CUF_Category                                                      CUF_NOTES                                                       COF                         COF_NOTES                           Facillty
                                                                                                                                                                                                                             Adjusted BS
  1.116E-4     5.0%   Occasional Noncompliance       A PVSC letter report of pollutions corrected in 1969, dated March 31, 1970, identified                    0.0% 0% Cooperation with conduct of allocation and requests    1.172E-4
                                                     intermittent polluting discharges containing oil in 1968 from Curtiss-Wright to Felds Brook, which               for related information
                                                     the report described as a tributary to the Passaic River (PAS-00008279). A letter reporting the
                                                     results of an Inspection and Insulating Fluid Evaluation by Burlington Testing Company dated
                                                     September 7, 1984 stated that 27 of 62 transformers showed evidence of slight leakage at
                                                     various points, such as gauges, fins, valves, gaskets, tap changer, and bushing throats. Spills at
                                                     two of the askarel (PCB)-filled transformers were also noted (PAP-00191030).

                                                                                                                                                                                                           AP_ABS             1.172E-4




                                                                                                                                                                                                                   ARR2284
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 86 of 95 PageID: 7111
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Curtiss-Wright Corporation
1 Passaic Avenue                        Wood-            NJ                   07075
                                        Ridge
 Facility BS   CUF           CUF_Category                                                      CUF_NOTES                                                       COF                         COF_NOTES                           Facillty
                                                                                                                                                                                                                             Adjusted BS
  2.705E-2     5.0%   Occasional Noncompliance       A PVSC letter report of pollutions corrected in 1969, dated March 31, 1970, identified                    0.0% 0% Cooperation with conduct of allocation and requests    2.840E-2
                                                     intermittent polluting discharges containing oil in 1968 from Curtiss-Wright to Felds Brook, which               for related information
                                                     the report described as a tributary to the Passaic River (PAS-00008279). A letter reporting the
                                                     results of an Inspection and Insulating Fluid Evaluation by Burlington Testing Company dated
                                                     September 7, 1984 stated that 27 of 62 transformers showed evidence of slight leakage at
                                                     various points, such as gauges, fins, valves, gaskets, tap changer, and bushing throats. Spills at
                                                     two of the askarel (PCB)-filled transformers were also noted (PAP-00191030).

                                                                                                                                                                                                           AP_ABS             2.840E-2




                                                                                                                                                                                                                   ARR2285
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 87 of 95 PageID: 7112
Allocation Facility Cmass Calculation
DII Industries, LLC                                                                                              401 Worthington Avenue                             Harrison        NJ          07029
  Constituent Of      Overland,     Dmass      PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%         COC Historic
  Concern (COC)         Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                        CMass
                      Transport     Fate &                                                                   C%                                    Cmass
                          C%      Transport
      Copper           100.00%     3,023.03    100.00%      -           0.27%                 -           100.00%                  -                3,023.03   1.018817E-2         30.8
       Lead           100.00%      391.51      100.00%      -           0.27%                 -           100.00%                  -                 391.51    1.018817E-2         3.99
      Mercury         100.00%       1.75       100.00%      -           0.27%              0.41           100.00%                  -                  1.75     1.018817E-2         0.02
      HPAHs           100.00%       9.18       100.00%      -           0.27%                 -           100.00%                  -                  9.18     1.018817E-2         0.09
       LPAHs          100.00%       1.06       100.00%      -           0.27%                 -           100.00%                  -                  1.06     1.018817E-2         0.01
       PCBs           100.00%       1.54       100.00%      -           0.27%                 -           100.00%                  -                  1.54     1.018817E-2         0.02
        DDx           100.00%         -        100.00%      -           0.27%                 -           100.00%                  -                    0      1.018817E-2          0
      Dieldrin        100.00%         -        100.00%      -           0.27%                 -           100.00%                  -                    0      1.018817E-2          0
   Dioxins_Furans     100.00%         -        100.00%      -           0.27%                 -           100.00%                  -                    0      1.018817E-2          0




                                                                                                                                                                                              ARR2286
                                                                 For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 88 of 95 PageID: 7113
Allocation Facility COC Base Scores - Protocol Calculation
DII Industries, LLC                                                                                               401 Worthington Avenue                        Harrison   NJ     07029
  Constituent Of      Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)         Risk      (Tmass)           CMass        Contribution            Score
                      Number
                       (RRN)
      Copper            0.69     2,100,000.00         30.8         1.467E-5             1.012E-5
       Lead             0.01     3,200,000.00         3.99         1.246E-6             1.246E-8
      Mercury           0.95      42,000.00           0.02         4.248E-7             4.035E-7
      HPAHs             0.05     240,000.00           0.09         3.897E-7             1.948E-8
       LPAHs            0.01     170,000.00           0.01         6.353E-8            6.353E-10
       PCBs            12.87      26,000.00           0.02         6.035E-7             7.766E-6
        DDx             1.37      27,000.00            0                0                    0
      Dieldrin          0.13       390.00              0                0                    0
   Dioxins_Furans      83.92        38.00              0                0                    0




                                                                                                                                                                                ARR2287
                                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 89 of 95 PageID: 7114
Allocation Facility COC Base Scores - Alternative Calulcation
DII Industries, LLC                                                                                                401 Worthington Avenue                                     Harrison    NJ     07029
  Constituent Of      Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)         Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                      Number
                       (RRN)
      Copper            0.69     2,100,000.00       276,960.25           2,097,178.28              1.092E-2               30.8             22,890.77             1.092E-2      7.531E-3
       Lead             0.01     3,200,000.00       288,577.67           3,197,059.92              1.357E-3               3.99              4,337.41             1.357E-3      1.357E-5
      Mercury           0.95      42,000.00          4,322.53              41,955.96               4.051E-4               0.02                 17.               4.051E-4      3.849E-4
      HPAHs             0.05     240,000.00        4,346,388.50            195,718.24              2.112E-6               0.09                 0.41              2.112E-6      1.056E-7
       LPAHs            0.01     170,000.00        3,012,835.14            139,304.72              3.518E-7               0.01                 0.05              3.518E-7      3.518E-9
       PCBs            12.87      26,000.00         20,066.54              25,795.56               7.674E-5               0.02                 1.98              7.674E-5      9.877E-4
        DDx             1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0             0
      Dieldrin          0.13       390.00              1.27                  389.99                     0                   0                    0                  0             0
   Dioxins_Furans      83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0             0




                                                                                                                                                                                               ARR2288
                                                      For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                      Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 90 of 95 PageID: 7115
Facility Bypass Information
 DII Industries, LLC                                  401 Worthington Avenue                                          Harrison                       NJ        07029

Item          Bypass Name      Bypass Type   Time %        Flow %                                                                Bypass Notes
  1          Worthington Ave      CSO         0.48%        56.33%            No metering was done at this location for the Killiam report. CSO percentages were calculated by the median of all
                                                                                                                      CSOs in the Harrison municipality




                                                                                                                                                                                ARR2289
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-11
ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
                                                                Filed 01/31/24 Page 91 of 95 PageID: 7116
                                                                                                       FINAL 12/28/2020




 Discharge Calcs                                 POTW Discharge Information                           COMMENTS/NOTES
                                                 gal discharged per day/week/month                    No Permitted discharges to Surface Water
                                                 # hours/per day discharged                           PVSC Permit No. 13402044 (PAS-00023275)
                                                 #days/week discharged                                Non contact cooling water and floor drains to PVSC w/ sanitary water
                                                 #weeks/yr discharged                                 Did not generate process wastewater
                                      13,500,000 calc gal/yr discharge                                1989-1990 flows
                                                                                                      4.3 MGY Cooling Water
                                             1985 Yr Ops started                                      9.2 MGY Sanitary
                                             1993 Yr Ops ceased
                                               8 calc #yrs facility operated                          Water from catch basins were discharged to PVSC

 Copper (Cu)
                                              8 #yrs facility discharged
                                                calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 Lead (Pb)
                                              8 #yrs facility discharged
                                                calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 Mercury (Hg)                                                                                         Only monitoring data from 1986 for Mercury
                                              8     #yrs facility discharged
                                         0.0010     calc mg/L COC discharged
                                          3.785     L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                           0.41     calc kg COC discharged
 HPAHs
                                              8 #yrs facility discharged
                                                calc mg/L O&G
                                            10% % O&G that is considered PAHs
                                            60% % COC in O&G considered as PAHs
                                            -   calc mg/L HPAHs
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 LPAHs
                                              8 #yrs facility discharged
                                                calc mg/L O&G
                                            10% % O&G that is considered PAHs
                                            40% % COC in O&G considered as PAHs
                                            -   calc mg/L LPAHs
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 PCBs
                                              -7 #yrs facility discharged within PCBs Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                        -        calc kg COC discharged
 DDx
                                              -12 #yrs facility discharged within DDx Timeline
                                            -     calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -     calc kg COC discharged
 Dieldrin
                                               3 #yrs facility discharged within Dieldrin Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxins/Furans
                                              8     #yrs facility discharged
                                            -       calc mg/L COC discharged
                                          3.785     L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                            -       calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                               9 #yrs facility discharged within 2,4-D Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                               1 #yrs facility discharged within 2,4,5-T Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                              -9 #yrs facility discharged within 2,4,6-TCP Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged



 Summary DMassCOC for POTW:
                                              -     kg Copper
                                              -     kg Lead
                                             0.41   kg Mercury
                                              -     kg HPAHs
                                              -     kg LPAHs
                                              -     kg PCBs
                                              -     kg DDx
                                              -     kg Dieldrin
                                              -     kg Dioxins/Furans




DII Industries DMass formattted for report                                                                          1                                                        ARR2290   POTW_PVSC
                                                                                                                                                                 For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                          Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 92 of 95 PageID: 7117




Discharge Calcs                     Direct Discharge Information                         ASSUMPTIONS, REFERENCES                                                     COMMENTS/NOTES
                                                                                         Long term average annual precipitation includes floods and hurricane events Data from Rutgers University.
                               4.083 FEET/YEAR AVERAGE PRECIPITATION                     occurring over time.

                                 23 ACRES - TOTAL SITE AREA (acres)                      FDR p 1
                                 5.2 ACRES - AFFECTED AREA                               Soil piles and unpaved areas (PAS-00022928 and PAS-0002293)                      5.2 acres is based on the
                                                                                                                                                                          estimated pervious area in the
                                                                                                                                                                          figure on PAS-00022928.




                            4,046.86 METERS2/ACRE

                              21,044 METERS2 (AFFECTED AREA)

                              0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                 For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                         inches/year.

                                            3
                                  2 METERS /YEAR (ERODED SOIL VOLUME)                    VOLUME/YEAR DISCHARGED TO PASSAIC RIVER

                               1985 Year site operations began                           Operated and owned by DII/Dresser from January 1985 to February 1997.
                                                                                         (FDR page 1)



                               1997 Year site processing and storage operations ceased   Dresser/DII ceased commercial or manufacturing operations at the plant in        Dresser/DII sold site in 1997
                                                                                         October 1993 (FDR page 1; PAS-0063866, PAS-00122467).                            (FDR page 1; PAS-0063866,
                                                                                                                                                                          PAS-00122467)


                                 12 NUMBER YEARS DISCHARGE


                          25.2524064 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)

                              1962.5 KG/M3 SOIL DENSITY                                  Fill is red-brown line sands and silts with lesser quantities of medium to
                                                                                         coarse-grained sands, gravels, and clays. (PAS-00023130, PDF page 212).
                                                                                         Used "silty sand and gravel" soil type from
                                                                                         http://structx.com/Soil_Properties_002.html. Bulk density range 1442
                                                                                         KG/M3 to 2483 KG/M3, so use average. Average is 1962.5 kg/m3

                              49,558 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)
                                                                                         The Allocation Team has determined that the facility site is not located on
                                                                                         regional Historic Fill as designated by the NJDEP (FDR page 8)

Copper (Cu)

                                   12 YEARS DISCHARGED
                               61000 MG/KG (MAX CONCENTRATION)                           Sample 4b-2 at a depth of 0-6 inches bgs (PAS-00023061)
                            0.000001 kg per mg (Merck Index)
                                3,023 KILOGRAMS DISCHARGED
Lead (Pb)
                                  12 YEARS DISCHARGED
                                7900 MG/KG (MAX CONCENTRATION)                           Sample 4b-2 at a depth of 0-6 inches bgs (PAS-00023061)
                            0.000001 kg per mg (Merck Index)
                                 392 KILOGRAMS DISCHARGED
Mercury
                                  12 YEARS DISCHARGED
                                35.4 MG/KG (MAX CONCENTRATIONS)                          Maximum mercury concentration (PAS-00023178).
                            0.000001 kg per mg (Merck Index)
                                   2 KILOGRAMS DISCHARGED




DII FT Mass- Final.XLSX


                                                                                                                                                                                                                                                                ARR2291
                                                                                                                                                      For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 93 of 95 PageID: 7118




PAHs (listed in Benzo(a)pyrene                                                 Total concentration of PAH compounds for Benzo(a)pyrene Equivalent
Equivalent conversion table)                                                   https://floridadep.gov/waste/petroleum-restoration/documents/benzo-                                                                                                            Toxic
                                                                               pyrene-equivalents-conversion-table-one-sample.                                                                                                             Concentration   Equivalency   Benzo(a)pyrene
                                                                                                                                                                                                        Contaminant                          (mg/kg)         Factor       Equivalents
                                 12 YEARS DISCHARGED                           The levels of PAHs, copper, lead and mercury detected at the site in soils are   Maximum concentrations
                                                                               presented in the table below (PAS-00023024; PAS-00023178; PAS-                   from surface sample (EPL-RB-
                                                                               00023171). (FDR page 8).                                                         5A (0.5-1.0 ft)) (PAS-       Benzo(a)pyrene                                    148.489         1.0          148.4890
                          185.231262 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)   Sum of Benzo(a)pyrene Equivalent conversion concentrations                       00023171).
                                                                                                                                                                                             Benzo(a)anthracene                                104.440         0.1          10.4440
                            0.000001 kg per mg (Merck Index)                                                                                                                                 Benzo(b)fluoranthene                              122.640         0.1          12.2640
                                   9 KILOGRAMS DISCHARGED                                                                                                                                    Benzo(k)fluoranthene                              54.352         0.01           0.5435
PAHs (others detected)                                                         Phenanthrene - 14.958 ppm
                                                                               Acenaphthylene - 0.597 ppm
                                                                               2-methylnaphthalene - 0.353J ppm
                                                                               Naphthalene - 0.732 ppm
                                                                               Fluorene - 0.812 ppm
                                                                               Acenaphthene - 1.21 ppm
                                                                               Anthracene - 2.653 ppm
                                                                                                                                                                                                        Chrysene                       103.142            0.001              0.1031
                                  12 YEARS DISCHARGED                                                                                                                                                   Dibenz(a,h)anthracene           11.240             1.0              11.2400
                              21.315 MG/KG (TOTAL PAH MAX CONCENTRATION)       Sample EPL-R8-5A(PAS-0023171, Table 26)                                                                                  Indeno(1,2,3-cd)pyrene          21.476             0.1               2.1476
                            0.000001 kg per mg (Merck Index)                                                                                                                                            DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                   1 KILOGRAMS DISCHARGED                                                                                                                                                                           Total Benzo(a)pyrene Equivalents =       185.2
PCBs

                                 12 YEARS DISCHARGED



                                 31 MG/KG (MAX OF REPORTED CONCENTRATIONS)     The maximum detected PCB concentration was Aroclor-1254 in soil sample
                                                                               4c-4 at a depth of 0-6 inches (PAS-00023060)

                            0.000001 kg per mg (Merck Index)
                                  1.5 KILOGRAMS DISCHARGED

SUMMARY CMASS ESTIMATES:
                     3023.03 kg Copper
                      391.51 kg Lead
                         1.75 Mercury
                         9.18 kg PAHs (Benzo(a)pyrene Equivalent)
                         1.06 kg PAHs (Other)
                         1.54 kg PCBs
                         0.00 kg Dieldrin
                         0.00 kg Dioxins/Furans
                     3428.06 MASS (KG) DISCHARGED FROM SURFACE SOIL




DII FT Mass- Final.XLSX


                                                                                                                                                                                                                                                                                          ARR2292
                                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                     Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 94 of 95 PageID: 7119
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
DII Industries, LLC
401 Worthington Avenue                               Harrison             NJ                   07029
 Facility BS   CUF                  CUF_Category                                                                CUF_NOTES                                                      COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                            Adjusted BS
  1.832E-5     0.0%   Historically Compliant or No Evidence There is one violation citing N.J.A.C. 7:26-9.4 (g) 8 et seq. – failure to conduct semi-annual drills.          -20.0% -20% CPG/SPG member - Continuous provision of             1.466E-5
                                                                     9.6(f) 4 – failure to familiarize local hospitals with properties of hazardous waste handled onsite.            funding and participation in PRP Group(s) actions to
                                                                     9.7(a) – failure to have a written contingency plan (PAS-00122350).                                             cooperate with governmental/regulatory entities to
                                                                                                                                                                                     address environmental or public harm created by own
                                                                                                                                                                                     activities

                                                                                                                                                                                                                           AP_ABS            1.466E-5




                                                                                                                                                                                                                                    ARR2293
                                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                     Case 2:22-cv-07326-MCA-LDW Document 289-11 Filed 01/31/24 Page 95 of 95 PageID: 7120
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
DII Industries, LLC
401 Worthington Avenue                               Harrison             NJ                   07029
 Facility BS   CUF                  CUF_Category                                                                CUF_NOTES                                                      COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                            Adjusted BS
  8.918E-3     0.0%   Historically Compliant or No Evidence There is one violation citing N.J.A.C. 7:26-9.4 (g) 8 et seq. – failure to conduct semi-annual drills.          -20.0% -20% CPG/SPG member - Continuous provision of             7.134E-3
                                                                     9.6(f) 4 – failure to familiarize local hospitals with properties of hazardous waste handled onsite.            funding and participation in PRP Group(s) actions to
                                                                     9.7(a) – failure to have a written contingency plan (PAS-00122350).                                             cooperate with governmental/regulatory entities to
                                                                                                                                                                                     address environmental or public harm created by own
                                                                                                                                                                                     activities

                                                                                                                                                                                                                           AP_ABS            7.134E-3




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